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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.


   DONALD J. TRUMP,

                                Plaintiff,

   v.

   HILLARY R. CLINTON, HFACC, INC.,
   DEMOCRATIC NATIONAL COMMITTEE,
   DNC SERVICES CORPORATION, PERKINS
   COIE, LLC, MICHAEL SUSSMANN, MARC
   ELIAS, DEBBIE WASSERMAN SCHULTZ,
   CHARLES HALLIDAY DOLAN, JR., JAKE
   SULLIVAN, JOHN PODESTA, ROBERT E.
   MOOK, PHILLIPE REINES, FUSION GPS,
   GLENN SIMPSON, PETER FRITSCH,
   NELLIE OHR, BRUCE OHR, ORBIS
   BUSINESS INTELLIGENCE, LTD.,
   CHRISTOPHER STEELE, IGOR DANCHENKO,
   NEUSTAR, INC., RODNEY JOFFE, JAMES
   COMEY, PETER STRZOK, LISA PAGE,
   KEVIN CLINESMITH, ANDREW MCCABE,
   JOHN DOES 1 THROUGH 10 (said names
   being fictious and unknown persons), and
   ABC CORPORATIONS 1 THROUGH 10 (said
   names being fictitious and unknown entities),

                           Defendants.
   _________________________________________/


            COMPLAINT FOR DAMAGES AND DEMAND FOR TRIAL BY JURY

          The Plaintiff, Donald J. Trump, by and through his undersigned counsel, hereby serves his

   suit against the Defendants, Hillary R. Clinton, HFACC, Inc., the Democratic National Committee,

   DNC Services Corporation, Perkins Coie, LLC, Michael Sussmann, Marc Elias, Debbie

   Wasserman Schultz, Charles Halliday Dolan, Jr., Jake Sullivan, John Podesta, Robert E. Mook,



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   Phillipe Reines, Fusion GPS, Glenn Simpson, Peter Fritsch, Nellie Ohr, Bruce Ohr, Orbis Business

   Intelligence, Ltd., Christopher Steele, Igor Danchenko, Neustar, Inc., Rodney Joffe, James Comey,

   Peter Strzok, Lisa Page, Kevin Clinesmith, Andrew McCabe, John Does 1 through 10 (said names

   being fictious and unknown persons), and ABC Corporations 1 through 10 (said names being

   fictitious and unknown entities) and alleges as follows:

                                                    Introduction

           1.       In the run-up to the 2016 Presidential Election, Hillary Clinton and her cohorts

   orchestrated an unthinkable plot – one that shocks the conscience and is an affront to this nation’s

   democracy. Acting in concert, the Defendants maliciously conspired to weave a false narrative

   that their Republican opponent, Donald J. Trump, was colluding with a hostile foreign sovereignty.

   The actions taken in furtherance of their scheme—falsifying evidence, deceiving law enforcement,

   and exploiting access to highly-sensitive data sources - are so outrageous, subversive and

   incendiary that even the events of Watergate pale in comparison.

           2.       Under the guise of ‘opposition research,’ ‘data analytics,’ and other political

   stratagems, the Defendants nefariously sought to sway the public’s trust. They worked together

   with a single, self-serving purpose: to vilify Donald J. Trump.                   Indeed, their far-reaching

   conspiracy was designed to cripple Trump’s bid for presidency by fabricating a scandal that would

   be used to trigger an unfounded federal investigation and ignite a media frenzy.

           3.       The scheme was conceived, coordinated and carried out by top-level officials at the

   Clinton Campaign and the DNC—including ‘the candidate’ herself—who attempted to shield her

   involvement behind a wall of third parties.1 To start, the Clinton Campaign and the DNC enlisted

   the assistance of their shared counsel, Perkins Coie, a law firm with deep Democrat ties, in the


   1
    U.S. Dep’t of Justice, Office of the Inspector General, Review of Four FISA Applications and Other Aspects of the
   FBI’s Crossfire Hurricane Investigation at 96 (2019) (hereinafter “IG Report”).

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   hopes of obscuring their actions under the veil of attorney-client privilege. Perkins Coie was

   tasked with spearheading the scheme to find—or fabricate—proof of a sinister link between

   Donald J. Trump and Russia. To do so, Perkins Coie launched parallel operations: on one front,

   Perkins Coie partner Marc Elias led an effort to produce spurious ‘opposition research’ claiming

   to reveal illicit ties between the Trump Campaign and Russian operatives; on a separate front,

   Perkins Coie partner Michael Sussmann headed a campaign to develop misleading evidence of a

   bogus ‘back channel’ connection between e-mail servers at Trump Tower and a Russian-owned

   bank.

           4.     Marc Elias, in his mission to obtain derogatory anti-Trump ‘opposition research,’

   commissioned Fusion GPS, an investigative firm, and its co-founders, Peter Fritsch and Glenn

   Simpson, and directed them to dredge up evidence—actual or otherwise—of collusion between

   Trump and Russia. Fritsch and Simpson, in turn, enlisted the assistance of Orbis Ltd. and its

   owner, Christopher Steele, to produce a series of reports purporting to contain proof of the

   supposed collusion. Of course, the now fully debunked collection of reports, known as the “Steele

   Dossier,” was riddled with misstatements, misrepresentations and, most of all, flat out lies. In

   truth, the Steele Dossier was largely based upon information provided to Steele by his primary

   sub-source, Igor Danchenko, who was subsequently indicted for falsifying his claims. Even more

   damning, Danchenko had close ties to senior Clinton Campaign official, Charles Halliday Dolan,

   Jr., who knowingly provided false information to Danchenko, who relayed it to Steele, who

   reported it in the Steele Dossier and eagerly fed the deceptions to both the media and the FBI. This

   duplicitous arrangement existed for a singular self-serving purpose – to discredit Donald J. Trump

   and his campaign.

           5.     At the same time, Michael Sussmann, in his hunt for damaging intel against the



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   Trump Campaign, turned to Neustar, Inc., an information technology company, and one of its top

   executives, Rodney Joffe, a fervent anti-Trumper who had recently been promised a high-ranking

   position with the Clinton Administration, to exploit their access to non-public data in search of a

   secret “back channel” connection between Trump Tower and Alfa Bank. When it was discovered

   that no such channel existed, the Defendants resorted to truly subversive measures – hacking

   servers at Trump Tower, Trump’s private apartment, and, most alarmingly, the White House. This

   ill-gotten data was then manipulated to create a misleading “inference” and submitted to law

   enforcement in an effort to falsely implicate Donald J. Trump and his campaign.2 All of these acts

   were carried out in coordination with the Clinton Campaign and the DNC, at the behest of certain

   Democratic “VIPs.”3

           6.      While their multi-pronged attack was underway, the Defendants seized on the

   opportunity to publicly malign Donald J. Trump by instigating a full-blown media frenzy. Indeed,

   the Clinton Campaign and DNC—admittedly on a “mission” to “raise the alarm” about their

   contrived Trump-Russia link4—repeatedly fed disinformation to the media and shamelessly

   promoted their false narratives. All the while, Hillary Clinton, Jake Sullivan, Debbie Wasserman

   Schultz, and others did their best to proliferate the spread of those dubious and false claims through

   press releases, social media, and other public statements.

           7.      The fallout from the Defendants’ actions was not limited to the public denigration

   of Trump and his campaign.           The Federal Bureau of Investigation (FBI)—relying on the

   Defendants’ fraudulent evidence—commenced a large-scale investigation and expended precious




   2
     Indictment at ¶ 23 (ECF Doc. No. 1), United States v. Sussmannn, case no. 1:21-cr-00582-CRC, District of
   Columbia (Sept. 16, 2021) (hereinafter the “Sussmannn Indictment”).
   3
     Id. ¶ 10.
   4
     Jennifer Palmieri (former Clinton Campaign Communications Director), The Clinton campaign warned you about
   Russia. But nobody listened to us., The Washington Post, March 24, 2017.

                                                        4
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   time, resources and taxpayer dollars looking into the spurious allegation that the Trump Campaign

   had colluded with the Russian Government to interfere in the 2016 presidential election. The

   effects of this unfounded investigation were prolonged and exacerbated by the presence of a small

   faction of Clinton loyalists who were well-positioned within the Department of Justice and the FBI

   – James Comey, Andrew McCabe, Peter Strzok, Lisa Page, Kevin Clinesmith, and Bruce Ohr.

   These government officials were willing to abuse their positions of public trust to advance the

   baseless probe to new levels, including obtaining an extrajudicial FISA warrant and instigating the

   commencement of an oversight investigation headed by Special Counsel Robert Mueller. As a

   result, Donald J. Trump and his campaign were forced to expend tens of millions of dollars in legal

   fees to defend against these contrived and unwarranted proceedings. Justice would ultimately

   prevail – following a two-year investigation, Special Counsel Mueller went on to exonerate Donald

   J. Trump and his campaign with his finding that there was no evidence of collusion with Russia.

          8.      The full extent of the Defendants’ wrongdoing has been steadily and gradually

   exposed by Special Counsel John Durham, who has been heading a DOJ investigation into the

   origins of the Trump-Russia conspiracy. To date, he has already issued indictments to Sussmann

   and Danchenko, among others, for proffering false statements to law enforcement officials. As

   outlined below, these ‘speaking’ indictments not only implicate many of the Defendants named

   herein but also provide a great deal of insight into the inner-workings of the Defendants’

   conspiratorial enterprise. Based on recent developments and the overall direction of Durham’s

   investigation, it seems all but certain that additional indictments are forthcoming.

          9.      In short, the Defendants, blinded by political ambition, orchestrated a malicious

   conspiracy to disseminate patently false and injurious information about Donald J. Trump and his

   campaign, all in the hopes of destroying his life, his political career and rigging the 2016



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   Presidential Election in favor of Hillary Clinton. When their gambit failed, and Donald J. Trump

   was elected, the Defendants’ efforts continued unabated, merely shifting their focus to

   undermining his presidential administration. Worse still, the Defendants continue to spread their

   vicious lies to this day as they unabashedly publicize their thoroughly debunked falsehoods in an

   effort to ensure that he will never be elected again. The deception, malice, and treachery

   perpetrated by the Defendants has caused significant harm to the American people, and to the

   Plaintiff, Donald J. Trump, and they must be held accountable for their heinous acts.

                                         Jurisdiction and Venue
          10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, in that

   claims which arise under the laws of the United States, and this court has supplemental jurisdiction

   of the additional claims pursuant to 28 U.S.C. § 1367(a) as they all are so related to the federal

   questions that they form part of the same case or controversy.

          11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because at least

   one Defendant and the Plaintiff reside in this District and a substantial part of the events or

   omissions giving rise to the Plaintiffs’ claims occurred in this District. In this regard, the

   publications of injurious falsehoods were intended to occur in the Southern District of Florida, and

   they did occur in the Southern District of Florida.

                                                The Parties

          12.     The Plaintiff, Donald J. Trump, the 45th President of the United States of America,

   is a private citizen who is sui juris and he resides in the State of Florida in the Southern District of

   Florida.

          13.     The Defendant, Hillary R. Clinton (hereinafter “Clinton”), is a resident of the State

   of New York and is sui juris. She was the Democratic nominee for the 2016 Presidential Election.

   Clinton’s acts and omissions as identified in this lawsuit arise out of or relate to her conduct in

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   and/or affecting, among other jurisdictions, Florida.

           14.     The Defendant, HFACC, Inc. (hereinafter the “Clinton Campaign”), is a

   corporation with its principal place of business in New York and doing business all over the United

   States, including in the Southern District of Florida. The Clinton Campaign’s acts and omissions,

   as identified in this lawsuit, arise out of or relate to its conduct in and/or affecting, among other

   jurisdictions, Florida.

           15.     The Defendant, the Democratic National Committee is a national committee, as

   defined by 52 U.S.C. § 30101, with its principal place of business in Washington, D.C. The

   Democratic National Committee is registered with the FEC as the DNC Services Corp./Dem.

   Services Corp, and it operates through the Defendant, the DNC Services Corporation. In turn, the

   DNC Services Corporation is a District of Columbia not-for-profit corporation, with its principal

   place of business in Washington, D.C. The Democratic National Committee undertakes most of

   its business and financial activities through the DNC Services Corporation (hereinafter, the

   Democratic National Committee and the DNC Services Corporation are collectively referred to as

   the “DNC”). The DNC operates and conducts substantial and continuous business in the State of

   Florida. The DNC’s acts and omissions, as identified in this lawsuit, arise out of or relate to its

   conduct in and/or affecting, among other jurisdictions, Florida.

           16.     The Defendant, Perkins Coie, LLP (hereinafter “Perkins Coie”), is an international

   law firm with its headquarters in Seattle, Washington. Perkins Coie has a registered agent in

   Tallahassee, Florida, and does substantial, continuous business in Florida generally and in the

   Southern District of Florida specifically. Perkins Coie’s acts and omissions, as identified in this

   lawsuit, arise out of or relate to its conduct in and/or affecting, among other jurisdictions, Florida.

           17.     The Defendant, Michael Sussmann (hereinafter “Sussmann”), is a resident of



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   United States, and is sui juris. He is an attorney and a former agent and/or employee of Perkins

   Coie and, at all relevant times herein, was acting within the scope of his employment with Perkins

   Coie. Sussmann’s acts and omissions as identified in this lawsuit arise out of or relate to his

   conduct in and/or affecting, among other jurisdictions, Florida.

          18.     The Defendant, Debbie Wasserman Schultz (hereinafter “Schultz”) is a resident of

   the State of Florida and is sui juris. She served as Chairperson of the DNC from May 2011 until

   the date of her resignation on July 28, 2016. Schultz’s acts and omissions as identified in this

   lawsuit arise out of or relate to her conduct in and/or affecting, among other jurisdictions, Florida.

          19.     The Defendant, Charles Halliday Dolan, Jr. (hereinafter “Dolan”), is a resident of

   the United States, and is sui juris. With respect to the 2016 Clinton Campaign, Dolan actively

   campaigned and participated in calls and events as a volunteer on behalf of Hillary Clinton.

   Dolan’s acts and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or

   affecting, among other jurisdictions, Florida.

          20.     The Defendant, Jake Sullivan (hereinafter “Sullivan”), is a resident of the United

   States, and is sui juris. He was Chief Foreign Policy Advisory for the 2016 Clinton Campaign

   and, at all relevant times herein, was acting within the scope of his employment with the Clinton

   Campaign. Currently, Sullivan is serving as National Security Advisor for the Biden

   Administration. Sullivan’s acts and omissions as identified in this lawsuit arise out of or relate to

   his conduct in and/or affecting, among other jurisdictions, Florida.

          21.     The Defendant, John Podesta (hereinafter “Podesta”), is a resident of the United

   States, and is sui juris. He was Chairman for the 2016 Clinton Campaign and, at all relevant times

   herein, was acting within the scope of his employment with the Clinton Campaign. Podesta’s acts

   and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or affecting,



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   among other jurisdictions, Florida.

          22.     The Defendant, Robert E. Mook (hereinafter “Mook”), is a resident of the United

   States and served as the campaign manager for the 2016 Clinton Campaign. At all relevant times

   herein, was acting within the scope of his employment with the Clinton Campaign. Mook’s acts

   and omissions as identified in this lawsuit arise out of or relate to his conduct in and/or affecting

   among other jurisdictions, Florida.

          23.     The Defendant, Phillipe Reines (hereinafter “Reines”), is a resident of the United

   States, and is sui juris. He served as a long-time former communications advisor to Hillary Clinton

   and, at all relevant times herein, was acting within the scope of his employment with the Clinton

   Campaign. Reines’ acts and omissions as identified in this lawsuit arise out of or relate to his

   conduct in and/or affecting among other jurisdictions, Florida.

          24.     The Defendant, Marc Elias (hereinafter “Elias”), is a resident of Washington D.C.

   and is sui juris. He is an attorney and a former employee and/or agent of Perkins Coie, the DNC

   and the Clinton Campaign and, at all relevant times herein, was acting within the scope of his

   employment and/or agency of Perkins Coie. Elias’s acts and omissions as identified in this lawsuit

   arise out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.

          25.     The Defendant, Fusion GPS, is a Delaware limited liability company which

   represents that it provides research, strategic intelligence, and due diligence services to

   corporations, law firms, and investors worldwide, and is headquartered in Washington D.C.

   Fusion GPS’s acts and omissions, as identified in this lawsuit, arise out of or relate to its conduct

   in and/or affecting, among other jurisdictions, Florida.

          26.     The Defendant, Glenn Simpson (hereinafter “Simpson”), is a principal and co-

   founder of Fusion GPS, is a resident of the United States, and is sui juris. Simpson’s acts and



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   omissions as identified in this lawsuit arise out of or relate to his conduct in and/or affecting,

   among other jurisdictions, Florida.

           27.     The Defendant, Peter Fritsch (hereinafter “Fritsch”), is a principal and co-founder

   of Fusion GPS, is a resident of Florida, and is sui juris. Fritsch’s acts and omissions as identified

   in this lawsuit arise out of or relate to his conduct in and/or affecting, among other jurisdictions,

   Florida.

           28.     The Defendant, Nellie Ohr (hereinafter “Mrs. Ohr”), is a resident of the United

   States, and is sui juris. At all relevant times, she was an employee of Fusion GPS and was acting

   within the scope of her employment with Fusion GPS. Mrs. Ohr’s acts and omissions as identified

   in this lawsuit arise out of or relate to her conduct in and/or affecting, among other jurisdictions,

   Florida.

           29.     The Defendant, Bruce Ohr (hereinafter “Mr. Ohr”), is a resident of the United

   States, and is sui juris. At all relevant times, Bruce Ohr was a United States Department of Justice

   official. Mr. Ohr’s acts and omissions as identified in this lawsuit arise out of or relate to his

   conduct in and/or affecting, among other jurisdictions, Florida.

           30.     The Defendant, Orbis Business Intelligence Ltd. (hereinafter “Orbis Ltd.”), is a

   London, England-based intelligence consultancy firm.         Orbis Ltd.’s acts and omissions, as

   identified in this lawsuit, arise out of or relate to its conduct in and/or affecting, among other

   jurisdictions, Florida.

           31.     The Defendant, Christopher Steele (hereinafter “Steele”), is a principal and founder

   of Orbis Ltd., a resident of the United Kingdom, and is sui juris. Steele’s acts and omissions as

   identified in this lawsuit were all done in the scope of his employment with Orbis, Ltd., and arise

   out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida.



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          32.     The Defendant, Igor Danchenko (hereinafter “Danchenko”), at all times relevant to

   this Complaint, was a citizen of the Russian Federation and was lawfully in the United States.

   Danchenko resided in Washington, D.C. and Virginia and is sui juris. At all relevant times,

   Danchenko was a contractor for Orbis Ltd. and was acting within the scope of his agency with

   Orbis Ltd. Danchenko’s acts and omissions as identified in this lawsuit arise out of or relate to his

   conduct in and/or affecting, among other jurisdictions, Florida.

          33.     The Defendant, Neustar, Inc. (hereinafter “Neustar”), is an information technology

   company with its headquarters in Sterling, Virginia. Neustar’s acts and omissions, as identified in

   this lawsuit, arise out of or relate to its conduct in and/or affecting, among other jurisdictions,

   Florida.

          34.     The Defendant, Rodney Joffe (hereinafter “Joffe”), is a resident of the United

   States, and is sui juris. Joffe is a former executive of Neustar and, at all relevant times herein, was

   acting within the scope of his employment with Neustar. Joffe’s acts and omissions as identified

   in this lawsuit arise out of or relate to his conduct in and/or affecting, among other jurisdictions,

   Florida.

          35.     The Defendant, James Comey (hereinafter “Comey”), is a resident of the United

   States, and is sui juris. Comey was the 7th Director of the Federal Bureau of Investigation from

   2013 to May 2017. Comey’s acts and omissions as identified in this lawsuit arise out of or relate

   to his conduct in and/or affecting, among other jurisdictions, Florida.

          36.     The Defendant, Peter Strzok (hereinafter “Strzok”), is a resident of the United

   States, and is sui juris. At all relevant times, Strzok was an agent of the Federal Bureau of

   Investigation. Strzok’s acts and omissions as identified in this lawsuit arise out of or relate to his

   conduct in and/or affecting, among other jurisdictions, Florida .



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          37.      The Defendant, Lisa Page (hereinafter “Mrs. Page”), is a resident of the United

   States, and is sui juris. At all relevant times Mrs. Page was an attorney for the Federal Bureau of

   Investigation. Mrs. Page’s acts and omissions as identified in this lawsuit arise out of or relate to

   her conduct in and/or affecting, among other jurisdictions, Florida .

          38.      The Defendant, Kevin Clinesmith (hereinafter “Clinesmith”), is a resident of the

   United States, and is sui juris. At all relevant times, Clinesmith was an attorney for the Federal

   Bureau of Investigation. Clinesmith’s acts and omissions as identified in this lawsuit arise out of

   or relate to his conduct in and/or affecting, among other jurisdictions, Florida .

          39.      The Defendant, Andrew McCabe (hereinafter, “McCabe”), is a resident of the

   United States, and is sui juris. McCabe was the Deputy Director of the Federal Bureau of

   Investigation from 2016 to March of 2018. McCabe’s acts and omissions as identified in this

   lawsuit arise out of or relate to his conduct in and/or affecting, among other jurisdictions, Florida

          40.      The Defendants, John Does 1 through 10, are individuals whose identities are

   presently unknown to the Plaintiff, including, but not limited to, journalists, publishers, editors,

   investigators, state or federal officials, co-conspirators, officers, employees, agents, managers,

   owners, principals and/or other duly authorized individuals who caused or contributed to the

   incident or incidents for which the Plaintiff seeks damages, and/or are vicariously and/or otherwise

   liable for the acts, commissions, or other culpable conduct of those who did cause or contribute to

   the incidents alleged.

          41.      The Defendants, ABC Corporations 1 through 10, are corporate entities presently

   unidentifiable to the Plaintiff, including, but not limited to, media companies, publication

   companies, editorial companies, municipalities, state or federal agencies, law enforcement

   authorities, investigative agencies, political organizations, political affiliates, private firms and/or



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   other duly authorized corporate or governmental entities who caused or contributed to the incident

   or incidents for which the Plaintiff seeks damages, and/or are vicariously and/or otherwise liable

   for the acts, commissions, or other culpable conduct of those who did cause or contribute to the

   incidents alleged.

                                              Statement of Facts

   The DNC and the Clinton Campaign
   Become One

           42.     On April 12, 2015, Clinton declared her candidacy for President of the United

   States. Clinton sought the nomination of the Democratic Party.

           43.     Shortly thereafter, in April 2015, the Clinton Campaign retained Perkins Coie, a

   law firm with longstanding ties to the Democratic Party, as its general counsel.5

           44.     It was clear from the early days of the Democratic primaries that the DNC—which

   according to its own rules, is required to “maintain impartiality and evenhandedness” during the

   Democratic Primary nominating process—was backing Clinton and favored her as the preferred

   Democratic nominee.6

           45.     For example, in a confidential, inter-office DNC memorandum dated May 26, 2015

   (the “DNC Memo”), which only came to light after the DNC servers were hacked by an individual

   using the name “Guccifer 2.0,” it was noted that the DNC sought to “provide a contrast between

   the GOP field and HRC” and that it would “[u]se specific hits to muddy the waters around ethics,

   transparency and campaign finance attacks on HRC.”7

           46.     Notably, the DNC Memo also stated that, in order to “muddy the waters” around



   5
     Indictment at ¶ 10.
   6
     DNC Charter and Bylaws, Art. 5 § 4.
   7
     Complaint, Ex. A (ECF Doc. No. 8), Wilding v. DNC Services Corp., et al., case no. 0:16-cv-61511-WJZ,
   Southern District of Florida (July 13, 2016).

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   Clinton’s perceived vulnerabilities as a candidate, the DNC had outlined a plan to “damage

   Republican presidential candidates’ credibility with voters by looking for targeted opportunities to

   undermine their specific messaging.” The DNC Memo also discussed “opposition research” and

   a strategy to “utilize the research to place highly targeted hits” against Republican candidates.8

             47.   Around that same time, as later disclosed through a WikiLeaks release of

   confidential DNC documents, Schultz, the head of the DNC, stated in an e-mail that Clinton’s

   Democratic competitor, Bernie Sanders, “isn’t going to be president.”

             48.   Furthermore, Donna Brazile, then vice-chair of the DNC, said in criticism of

   Schultz: “She hadn’t been very interested in controlling the party – she let Clinton’s headquarters

   in Brooklyn do as it desired so she didn’t have to inform the party officers how bad the situation

   was.”

             49.   In or around mid-2015, in an effort to foster greater coordination and cohesion with

   Clinton and the Clinton Campaign, the DNC retained the same law firm, Perkins Coie, to serve as

   its general counsel.

             50.   Two of Perkins Coie’s senior partners, Elias and Sussmann, were largely

   responsible for handling the firm’s representation of the DNC and the Clinton Campaign in their

   legal, political, and other affairs. Elias, in particular, was designated as “General Counsel” for

   both the DNC and the Clinton Campaign.

             51.   In or around August 2015, Elias and Sussmann negotiated a Joint Fund-Raising

   Agreement between their two clients, the DNC and the Clinton Campaign.

             52.   The Joint Fund-Raising Agreement was nothing more than a thinly veiled effort to

   align the interests and operations of the DNC and the Clinton Campaign by giving the Clinton



   8
       Id.

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   Campaign control over the DNC, an organization that was supposed to remain impartial.

           53.      Specifically, the Joint Fund-Raising Agreement—which was entered into months

   before Clinton won the Democratic nomination—specified that, in exchange for raising money

   and investing in the DNC, the Clinton Campaign would control the DNC’s finances, strategy, and

   all the money raised.       Her campaign had the right of refusal on who would be the party

   communications director, and it would make final decisions on all the other staff. The DNC also

   was required to consult with the campaign about all other staffing, budgeting, data, analytics, and

   mailings.9

           54.      Given the intimate ties between the DNC and the Clinton Campaign, and the

   amount of control that Clinton exerted over both, it was clear that the organizations’ interests were

   aligned and they shared a common purpose: get Clinton elected President by any means necessary.

   The Clinton Campaign and DNC Conspire
   With Their Attorneys, Perkins Coie, to Frame
   Republican Candidate Donald J. Trump

           55.      On June 16, 2015, Donald J. Trump announced his candidacy for President and

   sought the Republican nomination.

           56.      Seeking to thwart Trump’s campaign and to diminish the likelihood of him winning

   the election, the Clinton Campaign and the DNC devised a nefarious scheme to discredit,

   delegitimize and defame him by proliferating a false narrative that Donald J. Trump and his

   campaign were actively colluding with Russia to interfere in the 2016 Presidential Election.

           57.      This plot was conceived and funded by Clinton, the Clinton Campaign, and DNC

   and would require the participation, cooperation and assistance of many individuals and entities

   acting in concert with one another to willfully carry out numerous tortious and criminal acts. The


   9
    Donna Brazile, Hacks: The Inside Story of the Break-ins and Breakdowns that Put Donald Trump in the White
   House, November 7, 2017.

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   Defendants had a meeting of minds and a common objective: to irreparably harm Trump’s ability

   to get elected and to end his political career.

          58.     To start, the Clinton Campaign and the DNC enlisted the assistance of their joint

   attorneys, Perkins Coie.

          59.     The Clinton Campaign and the DNC chose Perkins Coie to oversee and coordinate

   their plan for a specific purpose – they anticipated that conspiring with their legal counsel would

   help conceal their dealings under the shroud of attorney-client privilege. However, attorney-client

   privilege is wholly inapplicable to the pertinent discussions between these parties – not only were

   the communications between the DNC/Clinton Campaign and Perkins Coie non-legal in nature,

   they were also in furtherance of criminal and fraudulent wrongdoing.

          60.     Specifically, the Clinton Campaign and the DNC directed Perkins Coie to

   coordinate a two-pronged plan to publicly and falsely denigrate Donald J. Trump, with Elias and

   Sussmann each leading parallel operations to wrongly implicate him as colluding with Russia.

          61.     On one front, Elias would work with Fusion GPS and a host of others to develop a

   dossier, based on lies and misinformation purporting to show an incriminating link between Trump

   and Russia, which would be used to mislead law enforcement officials and ignite a media frenzy.

          62.     On a separate front, Sussmann would commission the information technology

   company, Neustar, to brazenly hack servers from highly-sensitive locations—including Donald J.

   Trump’s private residence, Trump Tower, and, most shockingly, the White House—to uncover

   proprietary data that could then be manipulated to give the impression that Trump was engaged in

   illegitimate business with a Russian bank, Alfa Bank.




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   Elias Recruits Fusion GPS and Others
   to Manufacture a Falsified Set of
   Reports Known as the Steele Dossier

           63.      To effectuate the first phase of the Defendants’ conspiracy—involving the creation

   of an incriminating dossier—the DNC and the Clinton Campaign would require the services of an

   investigative firm to dredge up derogatory ‘opposition research’ on Donald J. Trump and, to the

   extent there was none, to manufacture it.

           64.      At all relevant times, Fusion GPS was a private investigative firm specializing in

   politics. It was founded in 2011 by former Wall Street Journal employees Glenn Simpson and

   Peter Fritsch.10

           65.      On March 1, 2016, Fritsch sent an e-mail to a “senior figure in the Democratic

   Party” and conveyed his belief that Trump “had to be stopped.” The Democratic contact responded

   by stating “Yes. Let’s talk.”11

           66.      The “senior figure in the Democratic Party” arranged for Fritsch and Simpson to

   meet with Elias. The meeting took place on April 20, 2016, in Washington D.C.12

           67.      In or around April 2016, on behalf of and at the direction of the Clinton Campaign

   and the DNC, Elias and Perkins Coie retained Fusion GPS.

           68.      In particular, Fusion GPS was hired to perform ‘opposition research’ for the Clinton

   Campaign and the DNC.

           69.      The Clinton Campaign and the DNC were well aware that Fusion GPS had a well-

   documented history of employing a ‘scorched earth’ strategy wherein the company would produce




   10
      See generally Glenn Simpson and Peter Fritsch, Crime in Progress: Inside the Steele Dossier and the Fusion GPS
   Investigation of Donald Trump (hereinafter “Crime in Progress”).
   11
      Glenn Simpson and Peter Fritsch, Crime in Progress: Inside the Steele Dossier and the Fusion GPS Investigation
   of Donald Trump (“Crime in Progress”), p. 55.
   12
      Id. at 56.

                                                          17
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   false and/or misleading dossiers to be spread through the media to damage his opportunity to win

   an election.

             70.   The Clinton Campaign, the DNC, Perkins Coie and Fusion GPS each understood

   that Fusion GPS’s true task was to prepare a fraudulent “dossier” that could be used to falsely

   implicate Donald J. Trump to derail his campaign, ruining his opportunity to be elected and if

   elected to then interfere with his ability to properly serve as President of the United States by

   inducing criminal investigations of Donald J. Trump.

             71.   The Clinton Campaign and the DNC funneled funds through Perkins Coie to

   finance Fusion GPS’s research. Fusion GPS would then report to the Perkins Coie attorney, Elias,

   the results of its “investigation.”13

             72.   In fact, Simpson and Fritsch reported only to Elias and did “not have any contact

   with the campaign brass.” 14

             73.   As Fritsch and Simpson recounted in their book, the relationship was set up that

   way for a specific reason; per Elias, Fusion GPS was walled-off from the Clinton Campaign and

   the DNC for “legal reasons: If Fusion’s communications were with a lawyer, they could be

   considered privileged and kept confidential.”15

             74.   At or around that time, Nellie Ohr was an employee of Fusion GPS, where her role

   was to conduct extensive opposition research on Donald J. Trump’s family members and campaign

   aides.

             75.   Mrs. Ohr’s husband, Bruce Ohr, was an Associate Deputy Attorney General with

   the DOJ. Mrs. Ohr had also been previously employed with the DOJ.



   13
      Id. at 57.
   14
      Id.
   15
      Id.

                                                     18
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              76.     The Clinton Campaign, the DNC, Perkins Coie, and Fusion GPS knew that this

   close relationship with a high-ranking DOJ official would be of great value in effectuating their

   plot – they understood that Mr. Ohr would be instrumental in lending credibility to the Steele

   Dossier by having Mr. Ohr serve as a seemingly trustworthy intermediary to disseminate it through

   government channels such as the FBI and the DOJ.

              77.     To develop the dossier, the Clinton Campaign, the DNC, Perkins Coie and Fusion

   GPS turned to Orbis Ltd., a private intelligence firm, and its owner, Christopher Steele, a former

   British intelligence officer.

              78.     Orbis Ltd. was chosen to partake in the scheme based on the ties between one of its

   analysts, Danchenko, and an individual with intimate ties to the Clinton Campaign and one its

   close associates, Dolan.

                    a. Danchenko, a Russian citizen, had been working as a contractor/analyst with Orbis

                       Ltd. Since 2011, focusing primarily on Russian and Eurasian geo-political

                       matters.16

                    b. Dolan, then an employee of public relations firm, Kglobal, was a longtime

                       participant in Democratic politics, having previously served as chairman of the

                       DNC, state chairman of former President Bill Clinton’s 1992 and 1996 presidential

                       campaigns, adviser to Clinton’s 2008 presidential campaign, and having been

                       appointed by Clinton to two four-year terms on an advisory commission at the

                       U.S. State Department. With respect to the 2016 Clinton campaign, Dolan actively

                       campaigned and participated in calls and events as a volunteer on behalf of the

                       Clinton Campaign.17


   16
        Danchenko Indictment ¶ 16.
   17
        Id. ¶ 19.

                                                      19
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            79.      In late April 2016, Danchenko began having discussions with Dolan about a

   potential business collaboration between Orbis Ltd. and Kglobal to create a “dossier” to smear

   Donald J. Trump and to disseminate the false accusations to the media. Those discussions reflected

   that Danchenko and Dolan had exchanged information regarding each other’s backgrounds and

   professional activities, including Danchenko’s work for Orbis Ltd, and Steele:18

                  c. On or about April 29, 2016, Danchenko sent an email to Dolan indicating that

                      Danchenko had passed a letter to Steele on behalf of Dolan and intended to set up

                      a meeting between the two.19

                  d. That same day, Danchenko sent an email to Dolan outlining certain work that

                      Danchenko was conducting with Orbis Ltd. The email attached an Orbis Ltd.

                      Report titled “Intelligence Briefing Note, ‘Kompromat’ and ‘Nadzor’ in the

                      Russian Banking Sector.”20

                  e. On or about June 10, 2016, Dolan sent an email to a U.S.-based acquaintance

                      which reflected that Dolan and Danchenko had become colleagues and were

                      exchanging information. In describing Danchenko, Dolan stated: “He is too young

                      for KGB. But I think he worked for FSB.21 Since he told me he spent two years

                      in Iran. And when I first met him he knew more about me than I did. [winking

                      emoticon].”

            80.      In or about June 2016, Fusion GPS officially retained Orbis Ltd. and Steele to find

   “links between Russia and the then Republican candidate. . . Donald J. Trump.” When no such




   18
      Id. ¶ 23.
   19
      Danchenko Indictment ¶ 24.
   20
      Id. ¶ 25.
   21
      The Federal Security Service of the Russian Federation, commonly referred to as the “FSB,” is the principal security
   agency of Russia and the principal successor agency to the KGB.

                                                             20
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   evidence was found, the directive shifted to manipulating the truth and developing a false narrative

   that Donald J. Trump was colluding with Russia.22

                 a. In taking on this assignment, Steele was aware that “Democratic Party associates”

                     were paying for his and Fusion GPS’s “research,” and that “the ultimate client”

                     was “the leadership of the Clinton presidential campaign.”23

                 b. Critically, Steele has testified that “the candidate”—Hillary Clinton—was “aware

                     of [his] reporting.”24

                 c. Furthermore, Steele shared the common goal of the Defendants’ overarching

                     conspiracy: he “was desperate that Donald Trump not get elected” and he “was

                     passionate about [Donald J. Trump] not being president.”25

           81.      Soon thereafter—at the direction of Clinton, the Clinton Campaign, the DNC,

   Perkins Coie, and Fusion GPS—Orbis Ltd. and Steele, with the assistance of Mook, Nellie Ohr,

   Danchenko Dolan, and others, began preparing approximately seventeen anti-Trump memoranda

   known collectively as the “Steele Dossier” or simply the “Dossier.”

           82.      Just after the Dossier was published, Podesta met Simpson to compare notes on

   Russia meddling in the election.26

           83.      Robby Mook, manager of the Clinton Campaign, has denied having knowledge of

   who funded the Dossier. However, Elias testified he sent the bills from Fusion GPS to Mook.27



   22
      Id.
   23
      IG Report at 96; see also Tr. of Christopher Steele Deposition at 162-163 (Mar. 18, 2020), Aven v. Orbis (2020)
   EWHC 1812 (QB) (“Q: . . . in early July . . . who did you think the ultimate client was? A: I thought it was the
   campaign . . . Q: You knew it was the leadership of the Clinton presidential campaign, didn’t you? A: I believed it
   was the campaign, yes. Q: The leadership of the Clinton campaign? A: Fine, the leadership of the campaign.”)
   24
      FBI Notes at 96; see also Tr. of Steele Dep. at 163 (emphasis added).
   25
      Bruce Ohr Transcribed Interview 124, Aug. 28, 2918.
   26
      https://www.shiftfrequency.com/podesta-illegal-spying-on-trump/
   27
      https://townhall.com/tipsheet/mattvespa/2020/05/12/did-hillary-clintons-campaign-manager-know-about-trump-
   dossier-dem-lawyer-says-he-sent-receipts-n2568625

                                                           21
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           84.     The Dossier was intended to not only harm Trump’s candidacy, but more

   importantly, it was fabricated to induce the FBI to commence an investigation into alleged ties

   between Russia and Donald J. Trump, the Trump Campaign, and the Trump Organization.

           85.     In drafting the Dossier, Steele purported to rely upon numerous sources who

   contributed information and prevarications to him.

           86.     Several of the alleged sources named in the Dossier have refuted, under oath, that

   they provided any of the purported information contained in the Dossier to Steele:

                 d. Olga Galkina, a Russian citizen who was referenced as “sub-source 3” in the

                     Dossier, stated that she was never a source or sub-source to Steele, and, in fact,

                     never even met him.28

                 e. Alexey Dundich, a Russian citizen who was referenced as “sub-source 4” in the

                     Dossier, stated that he never was a source of information, and never even met

                     Steele.29

                 f. Petr Avan, a Russian citizen who was referenced in the Dossier, denies the

                     allegations contained in the Dossier and states that its contents are false.30

           87.     The primary source for the information provided in the Dossier was Steele’s

   analyst, Danchenko.

           88.     From May 2016 through December 2016, Danchenko assembled and provided to

   Steele purported information that Steele would, in turn, rely upon to draft the Dossier.

           89.     During that same time, Danchenko had numerous meetings, communications and




   28
      Declaration of Olga Aleksandrovna Galkina dated June 8, 2021 (ECF Doc. No. 153-8), Fridman, et al. v. Bean
   LLC a/k/a Fusion GPS, et al., case no. 17-2041-RJL, District of Columbia (June 21, 2021).
   29
      Declaration of Alexey Sergeyevich Dundich dated May 13, 2021 (ECF Doc. No. 153-4), Fridman, et al. v.
   Bean LLC a/k/a Fusion GPS, et al., case no. 17-2041-RJL, District of Columbia (June 21, 2021).
   30
      Witness Statement of Petr Aven dated October 2, 2020, Aven v. Orbis (2020) EWHC 1812 (QB).

                                                        22
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   interactions with Dolan.

          90.     Certain information contained in the Dossier, which Danchenko provided to Steele,

   mirrors and/or reflects information that Dolan had conveyed to Danchenko.

          91.     For example, an allegation contained in Report 80 of the Dossier, claiming that

   Donald J. Trump had previously engaged in “salacious sexual activity” in the Presidential Suite at

   a Moscow hotel, was derived from Dolan:

                g. Dolan had stayed at the Moscow hotel in June 2016, and, during that trip, he

                   participated in, among other things: 1) a meeting with the general manager of the

                   Moscow hotel and a female hotel staff member, (2) a lunch with a Staff Member

                   and other members of the Moscow hotel staff and (3) a tour of the Moscow hotel,

                   including the Presidential Suite.

                h. Thereafter, Dolan told Danchenko that he learned from a hotel staffer that Trump

                   had stayed in the Presidential Suite and engaged in “salacious sexual activity.”

                i. References to the Moscow hotel, the Presidential Suite, and a hotel manager and

                   other staff would all later appear in the Dossier, which included absurd allegations

                   that Trump participated in “sexual or salacious activity.”

                j. Dolan ultimately admitted that no one at the hotel mentioned anything to him about

                   Trump’s supposed "sexual or salacious" activity.

          92.     Another allegation, contained in Report 111 of the Dossier, claiming that the

   Russian government withdrew a Russian from his job at the Russian Embassy in Washington, D.C.

   due to fears relating to the diplomat's purported role in meddling in the U.S. Presidential Election,

   had clearly originated from Dolan:

                   [S]peaking separately to [a] compatriot, a senior Russian [Ministry
                   of Foreign Affairs] official reported that as a prophylactic measure,

                                                    23
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                  a leading Russia diplomat, [Russian Diplomat-1), had been
                  withdrawn from Washington on short notice because Moscow
                  feared his heavy involvement in the US presidential election
                  operation, including the so-called veterans' pensions ruse (reported
                  previously), would be exposed in the media there. His replacement,
                  [Russian Diplomat-2] however was clean in this regard.

          93.    This allegation bore substantial similarities to information that Dolan received

   during the 2016 time period.

          94.    Moreover, Dolan was undoubtedly a source for an allegation in the Dossier

   regarding Paul Manafort's departure from the Trump Campaign:

                  S/he said it was true that the Ukraine corruption revelations had
                  played a part in this, but also, several senior players close to
                  TRUMP had wanted [Paul Manafort] out, primarily to loosen his
                  control on strategy and policy formulation. Of particular
                  importance in this regard was Paul Manafort's] predecessor as
                  campaign manager, [Campaign Staff Member-1-], who hated [Paul
                  Manafort] personally and remained close to TRUMP with whom
                  he discussed the presidential campaign on a regular basis.

          95.    The above allegation contained information that Dolan provided to Danchenko is

   in response to a specific request. In particular, on August 19. 2016, Danchenko emailed Dolan to

   inquire as to any “thought, rumor, or allegation” about Paul Manafort.

          96.    Thereinafter, on August 20, 2016. Dolan emailed Danchenko the following:

                  I had a drink with a GOP friend of mine who knows some of the
                  players and got some of what is in this article, which provides even
                  more detail. She also told me that [Campaign Staff Member-1],
                  who hates [Paul Manafort] and still speaks to Trump regularly
                  played a role. He is said to be doing a happy dance over it.

          97.    Later that same day, Danchenko replied to Dolan, expressing his appreciation for

   the information, adding that their “goals clearly coincided” with respect to gathering derogatory

   information about Trump.

          98.    Moreover, an allegation contained in an undated Dossier report described a "well-



                                                  24
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   developed conspiracy of cooperation" between Donald J. Trump, the Trump Campaign, and senior

   Russian officials, claiming:

                  Speaking in confidence to a compatriot in late July 2016, [Source
                  E], an ethnic Russian close associate of Republican US presidential
                  candidate Donald Trump, admitted that there was a well-developed
                  conspiracy of co-operation between them and the Russian
                  leadership. This was managed on the Trump side by the Republican
                  candidate's Campaign manager, [Paul Manafort], who was using
                  foreign policy advisor, [Carter Page], and others as intermediaries.
                  The two sides had a mutual interest in defeating Democratic
                  presidential candidate Hillary Clinton, whom President PUTIN
                  apparently both hated and feared.

          99.     This allegation would ultimately be offered in support of four FISA applications

   targeting former Trump Campaign associate Carter Page.

          100.    An additional allegation contained in the Dossier indicated that Russian diplomatic

   staff in Washington, D.C., New York, and Miami were paying U.S.-based cyber actors to conduct

   operations against the Democratic Party and Clinton.

   Sussmann Recruits Neustar to Lead a
   Cyberattack Against the Trump Campaign

          101.    While Elias was conspiring with Fusion GPS, Orbis, Steele and others to create the

   Dossier, Sussmann—at the direction of the Clinton Campaign and the DNC—was heading another

   aspect of the Defendants’ conspiracy: a plot to exploit sensitive data sources and falsify evidence

   to manufacture ties between Donald J. Trump and a Russian bank.

          102.    To put this plan in motion, the Clinton Campaign, DNC, and Perkins Coie required

   the assistance of a technology company with the expertise and access to sensitive non-public data

   which could be exploited for their nefarious purposes.

          103.    At all relevant times, Neustar was an information technology company founded in

   1998, which offers various internet-related information, data and analytics services, including



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   Domain Name System (“DNS”) resolution services, to its customers.31

           104.    Far from apolitical, Neustar and its employees have long been aligned with the

   Democratic Party. In 2016 alone, 100% of congressional campaign donations from Neustar

   employees went to Democrats.

           105.    At all relevant times, Joffe was an executive of Neustar and had an ownership

   interest in at least two additional technology companies, Dissect Cyber Inc. (“Dissect Cyber”) and

   Zetalytics LLC (“Zetalytics”).32

           106.    Joffe was in communication with high-ranking officials of the Clinton Campaign

   and/or the DNC in the lead-up to the 2016 Presidential Election.

           107.    During that time, Joffe was “tentatively offered the top [cybersecurity] job by the

   Democrats” in the event Clinton won the presidency. He stated that he “definitely would not take

   the job under Trump.”33

           108.    Perkins Coie and Sussmann, in particular, frequently served as outside counsel for

   Neustar; in this regard, Neustar was a significant source of revenue for Perkins Coie.34

           109.    In or around July 2016, Perkins Coie and Sussmann, acting on behalf of the Clinton

   Campaign and the DNC, tasked Neustar, under the direction of its executive, Joffe, to exploit its

   information gathering services and their access to non-public data to dredge up any information,

   data or records that could show any wrongdoing by Donald J. Trump, the Trump Campaign or the

   Trump Organization.

           110.    Thereafter, Neustar, led by Joffe, initiated a search for proof of a secret “back




   31
      Sussmann Indictment ¶ 12.
   32
      Id.; see also Charlie Savage and Adam Goldman, Trump Server Myster Produces Fresh Conflict, The New York
   Times, September 30, 2021, https://www.nytimes.com/2021/10/01/us/politics/trump-alfa-bank-indictment.html.
   33
      Id. ¶ 15.
   34
      Sussmann Indictment ¶ 14.

                                                       26
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   channel” between Donald J. Trump or the Trump Organization and Alfa Bank; when it became

   clear that no such back channel existed, Neustar and Joffe shifted their focus to fabricating

   evidence to invent proof of the supposed “back channel.”

           111.       On or about August 20, 2016, Joffe and his researchers manipulated a sales form

   on two different websites, faking the other’s email address to make them “appear to communicate

   with each other. . .”

           112.       Joffe believed that this fake “inference” was believable enough that “Hillary's

   opposition research and whatever professional gov[ernments] and investigative journalists are also

   digging [would] come up with the same things[.]”

           113.       On or about the same date, Joffe clarified in an email that the “task” he had been

   “given” by Perkins Coie, the Clinton Campaign, and the DNC was “indeed broad” and further

   stated, in part:

                      Being able to provide evidence of *anything* that shows an attempt
                      to behave badly in relation to this, the VIPs would be happy. They're
                      looking for a true story that could be used as the basis for closer
                      examination.

           114.       On or about August 21, 2016, Joffe emailed his team of researchers, urging them

   to push forward with their anti-Trump research, which he claimed would “give the base of a very

   useful narrative.”

           115.       In that same e-mail, Joffe admitted that the connection between Trump and Alfa

   Bank was merely a “red herring” with no factual basis that should be “ignored.”

           116.       Despite this knowledge, Sussmann and Joffe began to draft, review, and revise a

   “White Paper” summarizing the allegations—which they knew to be false—of a tie between

   Donald J. Trump and Alfa Bank.

           117.       All the time Sussmann spent drafting his ‘white papers,’ as with all his time spent


                                                       27
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   working with Neustar, Fusion GPS, and all of his acts in furtherance of the Defendants’ conspiracy,

   were billed to the Clinton Campaign.

            118.   On or about August 27, 2016, Joffe sent the white paper, on which Sussmann had

   been working, to his team with the following comment:

                   Please read as if you had no prior knowledge or involvement, and
                   you were handed this document as a security expert (NOT a DNS
                   expert) and were asked: Is this plausible as an explanation?' NOT to
                   be able to say that this is, without doubt, fact, but to merely be
                   plausible. Do NOT spend more than a short while on this (If you
                   spend more than an hour you have failed the assignment). Hopefully
                   less. :)

            119.   On or about the same date, one of Joffe’s researchers replied, stating that the white

   paper achieved Joffe’s objective, but noting that the paper “smartly” avoided discussing

   weaknesses or “holes” in the paper's hypothesis.

            120.   On or about September 15, 2016, one of the recipients of the question responded to

   Joffe, stating, in part, that the “paper's conclusion was plausible” in the “narrow scope” defined by

   Joffe.

            121.   On or about September 16, 2016, one of Joffe’s team confirmed that Sussmann

   would convey the false information to the FBI regarding the supposed connection between Donald

   J. Trump and Alfa Bank, with the plan to deceive.

            122.   In addition, in furtherance of his efforts with Sussmann and Elias to disseminate

   false allegations regarding Trump, Joffe also exploited his access—which he had through multiple

   companies, including Neustar, Dissect Cyber, and Zetalytics—to unlawfully search, gather and

   mine internet data, including non-public and proprietary data, to obtain derogatory information on




                                                    28
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   Donald J. Trump.35

                  a. The purpose of obtaining such data was to create an “inference” and “narrative”

                     regarding Trump’s purported ties to Russia.36

                  b. Those actions were directed by and/or done at the behest of certain “VIPs” of the

                     Clinton Campaign and Perkins Coie.37

                  c. Those “VIPs” include Clinton, Sullivan, Elias and/or Sussmann.

           123.     Among other things, Neustar, Joffe and their associates—at the direction of

   Clinton, the Clinton Campaign and the DNC — exploited access to non-public and proprietary

   internet data, including without limitation, domain name system (DNS) internet traffic, of: (i) a

   healthcare provider; (ii) Trump Tower; (iii) Donald Trump’s private apartment in Central Park

   West, and (iv) the Executive Office of the President of the United States (EOP).38

                  k. In doing so, Joffe and Neustar intentionally accessed, without authorization or in

                     excess of any authorization, the computers, servers, and/or other sensitive data

                     sources at the above-stated facilities.

                  l. Furthermore, Joffe and Neustar stole trade secrets, in the form of proprietary,

                     sensitive and confidential data, information, and knowledge, from the above-stated

                     facilities.

           124.     With regard to the EOP, Joffe and Neustar had come to access and maintain

   dedicated servers for the EOP as part of a highly sensitive arrangement whereby Neustar provided

   DNS resolution services to the EOP.39


   35
      Sussmann Indictment ¶¶ 21-23; see also Motion to Inquire into Potential Conflicts of Interest ¶ 4 (ECF Doc. No.
   35), United States v. Sussmann, case no. 1:21-cr-00582-CRC, District of Columbia (Feb. 11, 2022) (hereinafter
   “Sussmann Conflict Motion”).
   36
      Sussmann Indictment ¶ 23.
   37
      Id. ¶ 22-23; see also Sussmann Conflict Motion ¶¶ 4-5.
   38
      Id.
   39
      Id.

                                                           29
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           125.    Joffe and Neustar exploited this arrangement by, among other things, mining the

   EOP’s DNS traffic and other data for the purpose of gathering derogatory information about

   Donald J. Trump.

           126.    In addition, Joffe, Neustar, and their associates queried their holdings of non-public

   internet data against a lengthy list of more than 9,000 IP addresses, 3,000 internet domains, and

   60 e-mail addresses and domains that related to Donald J. Trump, the Trump Organization, and

   numerous Trump associates, in their search for derogatory information.

   As the Presidential Race Takes Form,
   The Steele Dossier Is Used To
   Mislead Federal Law Enforcement

           127.    The Republican National Committee (“RNC”) held its presidential nominating

   convention from July 18 through July 21, 2016, wherein Donald J. Trump was nominated as the

   Republican Nominee for President of the United States in the 2016 election.

           128.    On July 26, 2016, Clinton won the nomination of the Democratic Party to be its

   presidential candidate for the 2016 Presidential Election.

           129.    That very same day, a briefing from the U.S. intelligence community warned that

   it had intercepted communications concerning the “alleged approval by Hillary Clinton. . . of a

   proposal from one of her foreign policy advisors to vilify Donald Trump by stirring up a scandal

   claiming interference by Russian security services.”40

           130.    With the stage set and the election cycle underway, the Defendants put their plan

   into action.

           131.    Specifically, the Defendants began feeding false information to federal law


   40
     Letter from John Ratcliffe, Dir. of Nat’l Intelligence, to Sen. Lindsey Graham, Chairman, S. Comm. on the
   Judiciary (Sept. 29, 2020), https://www.judiciary.senate.gov/imo/media/doc/09-29-20_Letter%20to%20Sen.%20
   Graham_Declassification%20of%20FBI's%20Crossfire%20Hurricane%20Investigations_20-
   00912_U_SIGNEDFINAL.pdf.

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   enforcement authorities, while simultaneously spreading those same lies through the media. All

   in an effort to cast malicious aspersions on Donald J. Trump, the Trump Campaign, and the Trump

   Organization

              132.     The opening salvo occurred in early-to-mid July 2016, when Steele—a paid FBI

   informant—began sending his dossier memoranda to the FBI, knowing that they contained false

   information on Donald J. Trump purporting to show compromising ties to Russia.41

              133.     On the morning of July 31, 2016, Steele met with Nellie Ohr and Bruce Ohr, at

   which time Steele discussed his work on the Steele Dossier. Bruce Ohr was already aware at that

   time that Steele was “sharing his information with the Clinton campaign.”42

              134.     On that same day, the FBI opened a Foreign Agents Registration Act (“FARA”)

   investigation, known as Operation Crossfire Hurricane (“Crossfire Hurricane”), into whether

   individuals associated with the Trump Campaign were witting of and/or coordinating activities

   with the Russian government.

              135.     Among others at the FBI, Crossfire Hurricane was led by FBI Deputy Assistant

   Director Peter Strzok, FBI Director James Comey, and FBI Deputy Director, Andrew McCabe,

   with involvement and assistance from, among others, FBI Special Counsel Lisa Page and FBI

   attorney Kevin Clinesmith.

                     a. Text messages between Strzok and FBI Special Counsel Lisa Page, who were

                        engaged in an illicit affair during that time, reveal that both of them had an utter

                        disdain for the subject of their investigation, Donald J. Trump, and were

                        determined to ensure that Hillary Clinton won the 2016 presidential election.

                     b. For example, on August 8, 2016, Page texted Strzok, “[Trump’s] not ever going


   41
        Id. at ¶ 2; see also IG Report.
   42
        S. REP. NO. 116-290, vol. 5, at 909–10.

                                                        31
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                    to become president right? Right?!.” Strzoke replied, “No. No he’s not. We’ll stop

                    it.”

                 c. The text messages also contained reference to an “insurance policy” that was being

                    cultivated by Strzok, Page, McCabe, Comey and others at the FBI, in the event

                    that Trump were to win the election:

                 d. For instance, on August 15, 2016, Strzok texted Page: I want to believe the path

                    you threw out for consideration in Andy’s (Andrew McCabe, Deputy Director of

                    the FBI) office that there’s no way Trump gets elected—but I’m afraid we can’t

                    take that risk. It’s like an insurance policy in the unlikely event you die before

                    you’re 40 … “

                 e. This reference to an “insurance policy” reveals that Strzok and Page intended to

                    ensure that, if Donald. J. Trump did indeed win the presidential election, that he

                    would be quickly removed from office or, at a minimum, unable to effectively

                    govern.

          136.     By August 16, 2016, the FBI had opened individual cases under the Crossfire

   Hurricane umbrella as to four United States individuals, Carter Page, George Papadopoulos, Paul

   Manafort, and Michael Flynn.

          137.     Three of these individuals, Page, Papadopoulous, and Manafort, were associated

   with the Trump Campaign.

          138.     The focus of Crossfire Hurricane quickly became to obtain a FISA warrant,

   authorizing the spying and electronic surveillance of Carter Page, a foreign policy advisor with the

   Trump Campaign.

          139.     To surveil an American citizen, the FISA requires that there be probable cause that



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   the target is an “agent of a foreign power” who is “knowingly engag[ing]…in clandestine

   intelligence activities.” In short, to legitimately obtain a FISA warrant against Carter Page, the FBI

   had to demonstrate that he was a Russian agent who was knowingly engaging in intelligence

   activities on behalf of Russia.

              140.     In August 2016, Bruce Ohr met with Andrew McCabe and Lisa Page and briefed

   them on the false accusation contained in the Steele Dossier, particularly those concerning Carter

   Page.

              141.     On September 19, 2016, Steele provided reports from the Steele Dossier to the FBI,

   which contained false information regarding Carter Page and his purported ties to Russia.

              142.     Thereafter, the FBI applied for four (4) separate FISA warrants as to Carter Page.

              143.     In doing so, the FBI relied substantially on the Dossier as a means of establishing

   probable cause that Carter Page was a witting agent of the Russian Federation.

              144.     Indeed, McCabe would later testify before Congress, behind closed doors, in

   December 2017, that, if not for the Steele Dossier, no FISA warrant would have been issued.43

              145.     Each of the FISA applications set forth the FBI' s assessment that Carter Page was

   a knowing agent of Russia and further alleged—in reliance on the Dossier—that Carter Page was

   part of a “well-coordinated conspiracy of co-operation between the Trump Campaign and the

   Russian government.”

              146.     The FBI ultimately obtained a total of four court approved FISA applications

   targeting Carter Page, which authorized intrusive electronic surveillance of him from in or about

   October 2016 through in or about September 2017.

              147.     The first application was approved on October 21, 2016 (“FISA #1”), and three



   43
        120919-examination.pdf (justice.gov) at fn. 264.

                                                           33
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   renewal applications were approved on January 12, 2017 (“FISA # 2), April 7, 2017 (“FISA # 3”),

   and June 29, 2017 (“FISA # 4”).

           148.     The FISA applications were reviewed by numerous FBI agents, FBI attorneys, and

   National Security Division (NSD) attorneys and, as required by law, was ultimately certified by

   then FBI Director James Comey and approved by then Deputy Attorney General Sally Yates.44

           149.     In fact, no probable cause existed and there was no truth to any of the allegations

   against Carter Page, Donald J. Trump, or the Trump Campaign.

           150.     Strzok was directly involved in the decision to open Crossfire Hurricane and the

   four FISA applications. Additionally, “the documentation opening each of the four individual

   investigations was approved by Strzok.”45

           151.     Furthermore, Comey and Sally Yates approved the first renewal application.

   Comey and then Acting Attorney General Dana Boente approved the second renewal. Acting FBI

   Director Andrew McCabe and then Deputy Attorney General (DAG) Rod Rosenstein approved

   the third renewal.46

           152.     McCabe received regular briefings on the progress of Crossfire Hurricane and

   discussed the investigation with Comey at regular briefings.47

           153.     Clinesmith was assigned to provide legal support to FBI personnel working on

   Crossfire Hurricane. Clinesmith worked with the National Security Division of the United States

   Department of Justice to prepare the FISA applications to obtain authority from the United States

   Foreign Intelligence Surveillance Court.48



   44
      Id. (Page 6)
   45
      Id at 349
   46
       Id. at 7
   47
      120919-examination.pdf (justice.gov) (Page 69)
   48
      See generally Indictment, United States v. Clinesmith, case no. 1:20-cr-00165-JEB, District of Columbia (Aug.
   14, 2020) (hereinafter, “Clinesmith Indictment”).

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              154.     While ‘assisting’ the FBI, Clinesmith doctored an email with the Central

   Intelligence Agency. Clinesmith communicated with the CIA regarding whether Carter Page was

   a source. 49

              155.     Clinesmith took the email he received and added the words “not a source” and

   provided the doctored email to the FBI.50

              156.     Ohr had regular contact with the Crossfire Hurricane team and provided them with

   information that appeared in the FBI interview Report Form (FD-302).

              157.     James Comey was the Director of the FBI and his actions in this capacity allowed

   the false Trump-Russia collusion narrative to continue to thrive.

              158.     Comey personally signed three FISA applications to spy on Carter Page, with the

   Dossier serving as part of the basis for the warrant requests.

              159.     Comey was aware, or should have been aware, that there was no evidentiary basis

   for the FISA applications and that the Steele Dossier was not a credible source:

                     a. The Washington Times reported that it had obtained a three page highly classified

                        memo from September 2016, in which the CIA informed then FBI Director James

                        Comey, that the Clinton Campaign was planning to blame “collusion” between

                        Trump and the Russian government. The memo shows that Comey was advised

                        by the CIA of what the Clinton campaign had been doing. Comey was advised of

                        the fact that the Clinton campaign was setting up Donald J. Trump, weeks after

                        the FBI had opened the Crossfire Hurricane investigation into alleged collusion.

                        That information was a red flag to the FBI and it was ignored, as Comey was

                        aligned with the Clinton Campaign.


   49
        Id.
   50
        Id.

                                                       35
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                 b. Comey admitted in December, 2018, during his testimony before the House

                    Judiciary Committee, that prior to signing the FISA application to obtain the

                    warrant to conduct surveillance on Carter Page, that he was aware that the fake

                    Dossier, authored by Steele, was financed by the Clinton Campaign and the DNC,

                    or as he referred to them, “political actors, who opposed Donald J. Trump.” Yet,

                    none of that information was disclosed in the FISA applications in October, 2016,

                    or on any of the renewals.

                 c. Moreover, Comey during his testimony before the House Judiciary Committee

                    disclosed that when he met with Donald J, Trump in January 2017, in Trump

                    Tower, to brief him on the Dossier, that he failed to inform the incoming President,

                    about who financed the document, despite, the fact that Comey was well aware

                    that it was financed by Hillary Clinton via the DNC and the Clinton Campaign

                    through Perkins Coie.

                 d. Comey intentionally withheld that information from Donald J. Trump, as well as

                    in the FISA applications, themselves. Comey not only withheld that information

                    from Donald J. Trump and the FISA Court, so that the scheme could be hidden,

                    but he also pushed back, on behalf of the FBI, requests from Donald J, Trump to

                    investigate the origins of the “salacious material” i.e.: the Dossier. As such,

                    Comey confirmed that he did not tell Donald J. Trump, during his briefing that the

                    Dossier had been paid for by his political opponents, mainly Hillary Clinton, the

                    Clinton Campaign, and the DNC, via the Perkins Coie law firm.

          160.     Comey utilized the Steele Dossier as purported evidence to sign FISA documents

   to conduct surveillance on Carter Page, when he knew that the Dossier was discredited, and failed



                                                    36
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   to advise the FISA court.

             161.     Comey failed to tell the FISA court that the Dossier was reportedly funded by the

   Clinton Campaign and the DNC and compiled by Fusion GPS.

             162.     Comey failed to tell the FISA court that the Dossier he relied upon to request a

   warrant to monitor Carter Page was a product of the Fusion GPS

             163.     Comey relied on the Dossier to monitor Carter Page, even though months later he

   called the information in the Dossier salacious and unverified.

             164.     Comey relied on the Dossier, even though the FBI determined the document was

   only minimally corroborated.

   The Defendants Spread Their False
   Narrative Through the Media While
   Sussmann Makes False Statements to
   Law Enforcement

             165.     At the same time that the FBI’s unfounded investigation was underway, the

   Defendants were also spreading disinformation through the media in their effort of igniting a media

   frenzy.

             166.     Their coordinated efforts at or around that time included, without limitation, the

   following acts:

                    a. On September 1, 2016, Sussmann met with a reporter to discuss the false Trump-

                       Alfa Bank connection; the reporter would later write an article about the topic.

                    b. On September 12, 2016, Sussmann spoke with Elias, via phone, regarding

                       Sussmann's efforts to communicate with one newspaper on the allegations about

                       Alfa Bank; Sussmann and Elias. Each billed the call to the Clinton Campaign.

                    c. On September 21, 2016, Steele, Fritsch, and Simpson met with numerous members

                       of the media in Washington D.C., including reporters from The New York Times,

                                                       37
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                      The Washington Post, New Yorker, Yahoo News, and CNN, to discuss their

                      investigative findings of an alleged “sinister relationship” between Donald J.

                      Trump and Russia, including the “possible coordination of members of Donald J.

                      Trump’s campaign team and Russian government officials.”51

                   d. In mid-October 2016, Steele again met with reporters of The New York Times, The

                      Washington Post, and Yahoo News and provided additional briefings of his

                      supposed findings concerning a Trump-Russia connection.52

            167.     The next phase of the plan involved Sussmann meeting with the FBI to provide

   false evidence and information and to continue their efforts to intentionally mislead federal law

   enforcement authorities.

            168.     In the lead-up to Sussmann’s meeting with the FBI, there were numerous meetings

   between Sussmann and Elias, Neustar, and/or Fusion GPS, all of which were billed to the Clinton

   Campaign and/or the DNC, including, but not limited to the following:

                   a. On or about July 29, 2016, Sussmann and Elias met with personnel from Fusion

                      GPS in Elias’ office; Sussmann billed his time for this meeting to the Clinton

                      Campaign under the category “General Political Advice”53 with the billing

                      description “meeting with Elias, others regarding [] confidential project.”

                   b. In early August 2016, Sussmann met with Steele to advise him of a potential

                      connection between Trump Tower and the Russian Alfa Bank; his time was billed

                      to the Clinton Campaign.54


   51
      Crime in Progress at 110; see also IG report at 105.
   52
      Id. at 117.
   53
      For all of Sussmann’s other billing entries cited herein that he billed to the Clinton Campaign, he similarly billed
   his time to the Clinton Campaign under the category “General Political Advice.”
   54
      Tr. of Interview at 74–75, H. Permanent Select Comm. on Intelligence Interview of Michael Sussmann (Dec.
   18, 2017), https://www.dni.gov/files/HPSCI_Transcripts/2020-05-04-Michael_Sussmann-MTR_Redacted.pdf; Tr.
   of Steele Dep. at 1–2.

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                     c. On about August 12, 2016, Sussmann met with Elias and Joffe in Elias’ office; the

                        meeting was billed to the Clinton Campaign with the billing description

                        “confidential meetings with Elias, others.”

                     d. On or about August 17, 2016, Sussmann had a conference call with Elias and Joffe;

                        his time was billed to the Clinton Campaign with the billing description “telephone

                        conference with Joffe.”

                     e. On or about August 19, 2016, Sussmann had another meeting with Elias and Joffe;

                        Sussmann billed his time to the Clinton Campaign with the billing description

                        stating, in part, “confidential meeting with Elias, others[.]”

                     f. On or about August 20, 2016, Sussmann met with a representative of Fusion GPS

                        and communicated with the media; he billed his time to the Clinton Campaign

                        with the billing description, "Meeting with consultant and Elias; revisions to White

                        Paper; meeting with expert; meeting with expert and reporter; follow up meeting

                        with reporter; conversations with Elias.”

              169.     On or about September 15, 2016, just four days before Sussmann’s meeting with

   the FBI, Elias exchanged emails with Sullivan, as well as the Clinton Campaign's manager and

   communications director, concerning the plot to falsely connect Donald J. Trump to the Russian

   bank, Alfa Bank, by disseminating the lies to the media.55

              170.     On or about September 19, 2016, Sussmann met with the FBI General Counsel at

   FBI Headquarters in Washington D.C. to convey his allegations of the connection between Donald

   J. Trump and the Russian bank.

              171.     During this meeting, the following, in substance and in part, took place:



   55
        Sussmann Indictment ¶ 25.

                                                         39
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            a. Sussmann stated falsely that he was not acting on behalf of any client, which led

               the FBI General Counsel to understand that Sussmann was conveying the

               allegations as a good citizen and not as an advocate for any client.

            b. Sussmann stated that he had been approached by multiple cyber experts

               concerning the Russian bank connections allegations; Sussmann provided the

               names of three cyber experts, but did not name or mention Neustar, Joffe, the

               Clinton Campaign, or any other person or company referenced above.

            c. Sussmann described the allegations of a secret Trump Organization server that was

               in communication with the Russian bank, including that the Russian bank had used

               a TOR exit node located at a healthcare company to communicate with the Trump

               Organization.

            d. Sussmann stated that media outlets were in possession of information about the

               Trump Organization's secret server, and that a story would be published on Friday

               of that week.

            e. Sussmann provided to the FBI General Counsel two thumb drives and hard copy

               papers, which contained and comprised the following: (i) the aforementioned

               white paper that Sussmann had assisted in drafting, entitled White Paper #1

               AuditableV3, which contained no date or author's name; (ii) a white paper drafted

               by a researcher, which was entitled, White Paper Comments: Time Series Analysis

               of Recursive Queries, dated September 19, 2016, and contained no author's name;

               (iii) white paper drafted by Fusion GPS regarding the Russian Bank and its parent

               company, which contained no date or author’s name; and (iv) eight files containing

               the Russian Bank data and other purported data and information relating to the



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                   mail.trump-email.com domain.

          172.    Sussmann reported the Trump-Alfa Bank connection, as though it was real, and lied

   to the FBI General Counsel, by falsely stating that he was not acting on behalf of any client, when

   he was specifically there at the behest of Clinton, the Clinton Campaign, and the DNC. In fact, he

   billed the Clinton Campaign for his efforts, as he had with all of his actions taken in furtherance

   of the Defendants’ conspiracy.

          173.    Sussmann’s statement to the FBI General Counsel that he was not acting on behalf

   of any client was knowingly and intentionally false. In truth, and as Sussmann well knew, he and

   his firm, Perkins Coie, had been acting on behalf of and in coordination with four specific clients,

   i.e., Neustar, Clinton, the Clinton Campaign, and the DNC in assembling and conveying his

   allegations.

          174.    Sussmann billed his meeting with the FBI General Counsel to the Clinton

   Campaign with the billing description, “work and communications regarding confidential project.”

          175.    Sussmann concealed and failed to disclose, among other things, that, (i) he had

   spent time drafting one of the white papers he provided to the FBI General Counsel and billed that

   time to the Clinton Campaign, and (ii) Fusion GPS, which at the time was also acting as a paid

   agent of the Clinton Campaign and the DNC, drafted another of those white papers.

          176.    Sussmann's lies and omissions were material because, among other reasons, they

   misled the FBI General Counsel and other FBI personnel concerning the political nature of his

   work and deprived the FBI of information that might have permitted it more fully to assess and

   uncover the origins of the relevant data and technical analysis, including the identities and

   motivations of Sussmann's clients.

          177.    Had the FBI uncovered the origins of the relevant data and analysis, it would have



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   learned, among other things, that (i) in compiling and analyzing the Alfa Bank allegations, Joffe

   had exploited his access to non-public data at multiple internet companies to conduct opposition

   research concerning Donald J. Trump; (ii) in furtherance of these efforts, Joffe had enlisted, and

   was continuing to enlist, the assistance of researchers at a U.S.-based university who were

   receiving and analyzing internet data in connection with a pending federal government

   cybersecurity research contract; and (iii) Sussmann, Elias, Perkins Coie, Joffe, and Neustar had

   coordinated, and were continuing to coordinate with representatives and agents of the Clinton

   Campaign and the DNC, with regard to the data and written materials that Sussmann gave to the

   FBI and the media.

          178.    Immediately, after the aforementioned September 19, 2016, meeting, the FBI

   General Counsel spoke with the Assistant Director of the FBI's Counterintelligence Division.

   During their conversation, the FBI General Counsel conveyed the substance of his meeting with

   Sussmann. The Assistant Director took contemporaneous handwritten notes which reflect, in

   substance, the above-referenced statements by Sussmann and stated, among other things: “Michael

   Sussmann – Atty: Perkins Coie, LLP not doing this for any client.”

          179.    In the days following Sussmann's meeting with the FBI General Counsel, and as a

   result of that meeting, the FBI opened an investigation of the Trump-Alfa Bank allegations.

          180.    The FBI's investigation of these allegations nevertheless concluded that there was

   insufficient evidence to support the allegations of a secret communications channel with the

   Russian bank. In particular, and among other things, the FBI's investigation revealed that the email

   server at issue was not owned or operated by the Trump Organization but rather, had been

   administered by a mass marketing email company that sent advertisements for Trump hotels and

   hundreds of other clients.



                                                   42
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          181.   Moreover, demonstrating that Sussmann carried out the aforementioned work on

   behalf of his clients, Sussmann continued in the weeks following this meeting to coordinate with

   Joffe, Elias, and Fusion GPS, to disseminate the Russian bank allegations to the media.

          182.   For example, on or about October 10, 2016, Sussmann emailed a reporter a link to

   an opinion article which asserted, in substance and in part, that investigative reporters had not

   published as many stories regarding Donald J. Trump as other media outlets.

          183.   In or about late October 2016, approximately one week before the 2016 U.S.

   Presidential Election, multiple media outlets reported that U.S. government authorities had

   received and were investigating allegations concerning a purported secret channel of

   communications between the Trump Organization and a particular Russian bank, Alfa Bank.

          184.   One of these articles, published by the New Yorker on October 8, 2016, stated:

                 Examining records for the Trump domain, Max’s group discovered
                 D.N.S. lookups from a pair of servers owned by Alfa Bank, one of
                 the largest banks in Russia. Alfa Bank’s computers were looking up
                 the address of the Trump server nearly every day. There were
                 dozens of lookups on some days and far fewer on others, but the
                 total number was notable: between May and September, Alfa Bank
                 looked up the Trump Organization’s domain more than two
                 thousand times. “We were watching this happen in real time—it
                 was like watching an airplane fly by,” Max said. “And we thought,
                 Why the hell is a Russian bank communicating with a server that
                 belongs to the Trump Organization, and at such a rate?”

          185.   On or about October 31, 2016, eight days before the 2016 Presidential Election,

   Sullivan put out a written campaign statement that claimed that Trump and the Russians had set

   up a “secret hotline” through Alfa Bank and that “federal authorities” were investigating “this

   direct connection between Trump and Russia.” He portrayed the shocking discovery as the work

   of independent experts—“computer scientists”—without disclosing their attachment to Hillary

   Clinton or the Clinton Campaign. The full statement was as follows:



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                    [T]his could be the most direct link yet between Donald Trump and
                    Moscow. Computer scientists have apparently uncovered a covert
                    server linking the Trump Organization to a Russian-based bank.
                    This secret hotline may be the key to unlocking the mystery of
                    Trump's ties to Russia. It certainly seems the Trump Organization
                    felt it had something to hide, given that it apparently took steps to
                    conceal the link when it was discovered by journalists. This line of
                    communication may help explain Trump's bizarre adoration of
                    Vladimir Putin and endorsement of so many pro-Kremlin positions
                    throughout this campaign. It raises even more troubling questions
                    in light of Russia's masterminding of hacking efforts that are clearly
                    intended to hurt Hillary Clinton’s campaign. We can only assume
                    that federal authorities will now explore this direct connection
                    between Trump and Russia as part of their existing probe into
                    Russia's meddling in our elections.


           186.     Sullivan was acting in the scope and authority of his employment with the Clinton

   Campaign when he made this false statement, which was made with the intention of harming

   Trump and his campaign.

           187.     Elias, acting in the scope and authority of the Clinton Campaign, assisted Sullivan

   with the statement, as evidenced by his billing entries submitted to the Clinton Campaign.

           188.     On the same day, Clinton published the same false and damaging statements to the

   public through her Twitter account, wherein she included a photograph of Sullivan’s statement

   along with her own commentary: “Computer scientists have apparently uncovered a covert server

   linking the Trump Organization to a Russian-based bank.”56

           189.     A second tweet from Clinton on that same day said that it was “time for Trump to

   answer serious questions about his ties to Russia.” It also included a graphic stating the following:

                    1. Donald Trump has a secret server. (Yes, Donald Trump.) 2. It
                    was set up to communicate privately with a Putin-tied Russian bank
                    called Alfa Bank. 3. When a reporter asked about it, they shut it
                    down. 4. One week later, they created a new server with a different


   56
     Hillary Clinton (@HillaryClinton), Twitter (Oct. 31, 2016, 8:36 PM),
   https://twitter.com/hillaryclinton/status/793250312119263233?lang=en.

                                                          44
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                    name for the same purpose.57

          190.      Clinton made these statements despite her awareness that they were patently false

   and that neither Donald J. Trump nor the Trump Organization had any ties to Alfa-bank. She was

   driven by a pathological need to stop Trump from ever entering the White House irrespective of

   the damage and national discord it would cause.

          191.      The Defendant, John D. Podesta, Hillary Clinton’s campaign chairman, also

   pushed the false Trump-Russia allegations. After Wikileaks released internal Clinton campaign

   emails, Podesta told reporters on October 11, 2016, that “I’ve been involved in politics for nearly

   five decades. This definitely is the first campaign that I’ve been involved in which I’ve had to

   tangle with Russian intelligence agencies who seem to be doing everything they can on behalf of

   our opponent.”

          192.      He then stated, without even a shred of evidence that “I think it is a reasonable

   assumption to, or at least a reasonable conclusion, that Mr. Stone had advance warning, and the

   Trump campaign had advance warning about what Assange was going to do.”58

          193.      On November 9, 2016, in spite the Defendants’ collective efforts, Trump won the

   2016 Presidential Election.

          194.      Despite his victory, the Defendants’ efforts continued unabated.

          195.      In mid-November 2016, Glenn Simpson met personally with Bruce Ohr, at his

   request, to discuss Fusion GPS’s findings regarding Russia and the election.

          196.      Mr. Ohr concealed this meeting from the Department of Justice; he was later



   57
      Hillary Clinton (@HillaryClinton), Twitter (Oct. 31, 2016, 7:32 PM),
   https://twitter.com/HillaryClinton/status/793234169576947712?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed
   %7Ctwterm%5E793234169576947712%7Ctwgr%5E%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fthenationalde
   sk.com%2Fnews%2Famericas-news-now%2Ftweets-by-hillary-clinton-allegedly-support-accusations-her-
   campaign-paid-to-spy-on-trump-donald-president-emails-russia-john-durham-michael-susmann
   58
      https://time.com/4528049/hillary-clinton-john-podesta-emails-hackers-russia/

                                                     45
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   reprimanded and demoted for doing so.

          197.    On December 10, 2016, Glenn Simpson provided a thumb drive to Bruce Ohr

   containing most of the reports comprising the Steele Dossier. Ohr, in turn, provided the thumb

   drive to the FBI.

          198.    Ten days later, on December 20, 2016, Bruce Ohr provided a second thumb drive

   to the FBI, containing anti-Trump “opposition research” reports prepared by his wife, Nellie Ohr,

   in her capacity as a Fusion GPS employee.

          199.    Over time, the FBI attempted to investigate, vet, and analyze the Dossier, but

   ultimately was not able to confirm or corroborate most of their substantive allegations.

          200.    In the context of those efforts, the FBI learned that Danchenko, a Russian analyst,

   had served as a central source of information contained in the Dossier.

          201.    From January 2017 through November 2017, the FBI conducted numerous

   interviews with Danchenko (collectively the “Interviews”) concerning, among other things, the

   information that Danchenko had provided to Steele for the Dossier.

          202.    During the course of these Interviews, Danchenko plainly admitted that he had

   “zero” corroboration for the key allegations that he had contributed to the Dossier.

          203.    In addition, as alleged in further detail below, Danchenko repeatedly lied to FBI

   agents during his Interviews.

          204.    First, Danchenko falsely stated that he never communicated with Charles Halliday

   Dolan, Jr, a claim which was patently false.

          205.    In fact, Danchenko and Dolan had been in frequent communication since at least

   April 2016, had gone on a trip together, and had attended numerous meetings and conferences

   together.



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          206.     The disclosure of Danchenko’s relationship with Dolan would have been incredibly

   relevant to the FBI’s understanding of the contents of the Dossier:

                 a. At all relevant times, Dolan has long held deep ties to the Democratic Party

                    operative and has been a close associate of and adviser to Hillary Clinton.

                 b. As a result, Dolan frequently interacted with senior Russian Federation leadership

                    whose names would later appear in the Dossier, such as Putin spokesman Dmitry

                    Peskov and then-Russian ambassador to the US Sergey Kislyak.

                 c. Also, in 2006, the Kremlin signed a deal with Ketchum, the PR firm where Dolan

                    served as vice president for public affairs. As part of that agreement, Ketchum

                    was to handle global public relations for the Russian government as well as the

                    state-owned energy company Gazprom.

          207.     In fact, as detailed above, many of the allegations contained in the Dossier came

   directly from Dolan, who had conveyed them to Danchenko who, in turn, reported them to Steele.

          208.     Dolan 's role as a contributor of information to the Dossier was highly relevant and

   material to the FBI's evaluation of those reports because:

                 a. Dolan maintained pre-existing and ongoing relationships with numerous persons

                    named or described in the Dossier, including one of Danchenko's Russian sub-

                    sources,

                 b. Dolan maintained historical and ongoing involvement in Democratic politics,

                    which bore upon Dolan’s reliability, motivations, and potential bias as a source of

                    information for the Dossier, and

                 c. Danchenko gathered some of the information contained in the Dossier at events in

                    Moscow organized by Dolan and others that Danchenko attended at Dolan's



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                    invitation. Certain allegations that Danchenko provided to Steele, and which

                    appeared in the Dossier, mirrored and/or reflected information that Dolan himself

                    also had received through his own interactions with Russian nationals.

          209.      On or about January 13, 2017, Dolan replied to an email sent by a U.S.-based person

   discussing a recent news article regarding the Dossier, wherein Dolan stated:

                     [] I've been interviewed by the Washington Post and the London
                    Times -three times over the last two days over the Steele Dossier on
                    Trump and I know the Russian agent who made the report (He used
                    to work for me). My client in [Foreign Country] [Business] has been
                    accused of being the party that organized the hacking. Presently
                    speaking with the barrister in London who is filing a brief against
                    Steele has been unmasked as the man behind an explosive dossier
                    about US president-elect Donald Trump. Also in conversation with
                    former British Ambassador who knows Steele. Quite right -Oh what
                    a boring life.

          210.      At that time, Danchenko was not publicly known to be a source for Steele.

          211.      On March 16, 2017, Danchenko informed the FBI that he believed the source in the

   above-referenced allegations referred, at least in part, to the Chamber President. He repeated these

   claims in subsequent interviews on or about March 16, 2017, May 18, 2017, October 24, 2017,

   and November 2, 2017.

          212.      Meanwhile, Sussmann and Joffe continued to play their part in the Defendants’

   grand conspiracy.

          213.      Through late 2016 and early 2017, Joffe and a researcher continued to compile

   additional information and data regarding the Alfa Bank allegations and gathered other purported

   data allegedly involving Donald J. Trump’s related computer networks which they claimed tied

   him to Russia.

          214.      Around that time, Sussmann began arranging a meeting with the Central

   Intelligence Agency (CIA) to continue spreading his lies.

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          215.     On or about February 9, 2017, Sussmann met with two CIA employees at a location

   outside the District of Columbia.

          216.     At the meeting, the following, in substance and in part, occurred:

                 a. Sussmann stated falsely – as he previously had stated to the FBI General Counsel

                    that he was “not representing a particular client.” In truth and in fact, and as

                    Sussmann had acknowledged to the Former Employee just days earlier, Sussmann

                    was indeed representing a client.

                 b. Sussmann disclosed that Perkins Coie, was active in representing several

                    Democratic Party causes and officer-holders, including both the DNC and Clinton.

                    Sussmann stated, however, that such work was unrelated to his reasons for

                    contacting the CIA.

                 c. Sussmann discussed and described the updated allegations, including new details

                    concerning the Russian Bank allegations that he had not provided to the FBI

                    General Counsel.

                 d. Sussmann provided to the CIA employees (i) several white papers, and (ii)

                    multiple data files containing purported DNS data, ranging from 2016 through

                    early 2017.

          217.     As he had done in his prior meeting with the FBI, Sussmann—acting on behalf of

   the Clinton Campaign and the DNC—again lied to and intentionally mislead federal law

   enforcement officials in furtherance of the Defendants’ scheme.

          218.     That Sussmann was acting on behalf of, and in coordination with, the Clinton

   Campaign and the DNC when he made his false statements to the FBI and the CIA was confirmed

   in December 2017, when Sussmann testified under the penalty of perjury before the House



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   Permanent Select Committee on Intelligence:

                 Q: [] When you decided to engage the two principals, one, [the FBI
                 General Counsel] in September, and the general counsel of
                 [Agency-2] in December, you were doing that on your own
                 volition, based on information another client provided you. Is that
                 correct?

                         [Sussman]: No.

                        Q: So what was – so did your client direct you to have those
                 conversations?

                         [Sussman]: Yes.

                 Q: Okay. And your client also was witting of you going to [the CIA]
                 in February to disclose the information that individual had provided
                 you?

                         [Sussman]: Yes

                         [ . .. ]

                 Q: Okay. I want to ask you, so you mentioned that your client
                 directed you to have these engagements with the FBI and [redacted]
                 and to disseminate the information that client provided you. Is that
                 correct?

                 [Sussmann]: [] [W]e had a conversation, as lawyers do with their
                 clients, about client needs and objectives and the best course to take
                 for a client. And so it may have been a decision that we came to
                 together. I mean, I don't want to imply that I was sort of directed to
                 do something against my better judgment, or that we were in any
                 sort of conflict, but this was -- I think it's most accurate to say it was
                 done on behalf of my client.

          219.   Meanwhile, the Defendants’ continued their campaign of spreading disinformation

   through the media.

          220.   On March 7, 2017, Mook acknowledged during a Fox & Friends appearance, that

   there was a wiretap of Russian officials in contact with associates of President Trump, and that

   surveillance may have been conducted on Trump computers as well.

          221.   In October of 2017, Podesta went on Twitter and accused Donald J. Trump of
                                                    50
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   “running a “big lie campaign” centered on the investigation into Russian meddling in the U.S.

   election.”59

   A String of Federal Investigations
   Clear Donald J. Trump and
   Uncover the Defendants’ Illicit Conspiracy

           222.     On May 9, 2017, Comey was fired from his position of Director of the FBI.

           223.     Shortly thereafter, in the wake of his firing, Comey took retaliatory action against

   Donald J. Trump.

           224.     During his time with the FBI, Comey had documented several of his interactions

   with Donald J. Trump in a series of memos. After he was no longer an employee of the FBI, Comey

   intentionally shared these memos with one of his lawyer friends, who he directed to leak to a New

   York Times reporter who had been reporting on the Russia conspiracy theory.

           225.     The leak was investigated by the Office of the Inspector General (IG) which, in an

   August 2019 report, faulted Comey for the “unauthorized disclosure of sensitive investigative

   information, obtained during the course of FBI employment, in order to achieve a personally

   desired outcome.”60

           226.     The outcome that Comey desired—per his own admission to Congress—was to

   “prompt” the appointment of a special counsel to investigate Donald J, Trump’ alleged conspiracy

   with the Russian movement.

           227.     The IG’s report noted that Comey had “set a dangerous example” by “release[ing]

   sensitive information” to “create public pressure for official action.”

           228.     Comey was successful in getting the special master appointed, due to his unlawful


   59
     https://www.yahoo.com/news/trump-behind-apos-big-lie-164719959.html
   60
     Report of Investigation of Former Federal Bureau of Investigation Director James Comey’s Disclosure of Sensitive
   information and Handling of Certain Memoranda, Office of the Inspector General, Oversight and Review Division
   19-02, August 2019, https://oig.justice.gov/reports/2019/o1902.pdf (hereinafter, the “IG Report (Aug. 2019).

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   leaking of information, even though Comey didn’t have enough evidence to pursue it in his own

   official capacity.

           229.       In May 2017, Robert Mueller was appointed as Special Counsel to “oversee the

   previously-confirmed FBI investigation of Russian government efforts to influence to 2016

   Presidential Election and related matters.”61

           230.       Strzok, the leader of the Russia probe, texted Lisa Page in May 2017 that he was

   reluctant to join Mueller’s probe and leave his senior FBI post because he feared “there’s no big

   there, there.”62

           231.       In addition, in May 2017, Page told Representative John Ratcliffe “it still existed

   in the scope of possibility that there would be literally nothing” to connect Trump and Russia, no

   matter what Mueller or the FBI did.”

           232.       On March 22, 2019, Special Counsel Robert Mueller concluded his 22-month

   investigation and submitted his confidential report entitled “Report on the Investigation into

   Russian Interference in the 2016 Presidential Election” (the “Mueller Report”) to Attorney General

   William Barr.

           233.       The Mueller Report demonstrated that, after a two-year long investigation coming

   on the heels of a year-long FBI investigation, the Special Counsel found no evidence that Donald

   J. Trump or his campaign ever colluded with the Russian government to undermine the 2016

   election.

           234.       Specifically, Special Counsel Mueller “did not find that the Trump campaign, or

   anyone associated with it, conspired or coordinated with the Russian government in these efforts,



   61
      Appoint of Special Counsel (press release), US Department of Justice, May 17, 2017,
   https://www.justice.gov/opa/pr/appointment-special-counsel.
   62
      Lisa Page bombshell: FBI couldn't prove Trump-Russia collusion before Mueller appointment | The Hill

                                                          52
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   despite multiple efforts from Russian-affiliated individuals to assist the Trump campaign.”63

           235.    In March of 2019, shortly after the Muller Report determined there was no evidence

   of collusion, Reines went on Fox News and continued to accuse Donald J. Trump falsely.

           236.    Reines debated with Mollie Hemingway who told Reines that the conspiracy was

   over and Reines responded: “You saying it on FOX doesn't make it so. He's under investigation

   by 17 other entities including the Southern District of New York.”64

           237.    Starting in or around 2019, two additional probes were launched to investigate the

   origins of the FBI’s Crossfire Hurricane.

           238.    First, the Office of the Inspector General performed a review to determine whether

   the Crossfire Hurricane investigation was adequately predicated and whether the FBI had acted on

   false and misleading information.

           239.    Through this investigation, the IG uncovered numerous deficiencies with the FBI’s

   conduct.

           240.    In a report dated December 9, 2019, the IG identified “at least 17 significant errors

   or omissions in the Carter Page FISA applications, and many additional errors in the Woods

   Procedure.”65

           241.    Thereafter, on January 23, 2020, the DOJ formally admitted to the FISC that, with

   respect to at least the last two warrant applications, "if not earlier, there was insufficient predication

   to establish probable cause to believe that [Dr.] Page was acting as an agent of a foreign power."

           242.    The FISC has also issued several rulings finding that FISA warrants contained

   material omissions and misstatements, lacked candor, and/or that the warrants were not lawfully


   63
       Letter from AG William Barr, March 24, 2019.
   64
      https://www.realclearpolitics.com/video/2019/03/24/mollie_hemingway_vs_philippe_reines_on_mueller_its_impo
   rtant_to_understand_philippe_its_over.html#!
   65
       IG Report (12/19).

                                                        53
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   obtained:

                 a. In an Order dated December 17, 2019, the FISC stated: “The frequency with which

                    representations made by FBI personnel turned out to be unsupported or

                    contradicted by information in their possession, and with which they withheld

                    information detrimental to their case, calls into question whether information

                    contained in other FBI applications is reliable.”

                 b. In an Order dated January 7, 2020, the FISC stated: “The Court understands the

                    government to have concluded, in view of the material misstatements and

                    omissions, that the Court's authorizations were not valid.

                 c. In an Order dated March 5, 2020, the FISC stated: “There is thus little doubt that

                    the government breached its duty of candor to the Court with respect to those

                    applications [involving Carter Page].”

                 d. In an Order dated June 25, 2020, the FISC stated: “The government acknowledges

                    that there were material omissions, and the Court has found violations of the

                    government's duty of candor, in all four applications [regarding Carter Page].”

          243.     In light of these admissions, as well as the obvious questions about the legitimacy

   of Crossfire Hurricane, Attorney General William Barr assigned John Durham, the United States

   Attorney for the District of Connecticut, to lead an investigation on behalf of the Department of

   Justice into Crossfire Hurricane.

          244.     Thereafter, on October 19, 2020, Barr officially appointed Durham to serve as

   Special Counsel and to continue his investigation into the origins of Crossfire Hurricane.

          245.     On September 16, 2021, less than a year into his investigation, Durham indicted

   Sussmann for one count of making a false statement to a federal law enforcement in violation of



                                                    54
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   18 U.S.C. § 1001(a)(2) for, on September 19, 2016, “stat[ing] to the General Counsel of the FBI

   that Sussmann was not acting on behalf of any client in conveying the particular allegations

   concerning [Donald J. Trump], when in truth, and in fact, and as [Sussmann] well knew, he was

   acting on behalf of specific clients, namely, [Joffe] and the Clinton Campaign.”66

           246.     On November 3, 2021, Durham indicted Danchenko for five separate counts of

   violating 18 U.S.C. § 1001(a)(2) for making false statements to a law enforcement officials:67

                  e. Count One alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on June 15,

                     2017 when he “denied to agents of the FBI that he had spoken with [Dolan] about

                     any material contained in the [Steele Dossier], when in truth and in fact, and as the

                     defendant well knew, [Dolan] was the source for an allegation contained in the

                     [Steele Dossier] dated August 22, 2016 and was otherwise involved in the events

                     and information described in the reports.”68

                  f. Count Two alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on March 16,

                     2017 when he “stated to agents of the FBI that he received a late July 2016

                     telephone call from an individual who Danchenko believed was ‘probably’

                     Chamber President-1, when in truth and in fact, and as [Danchenko] well knew,

                     Chamber President-1 never called Danchenko.”69

                  g. Count Three alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on May 18,

                     2017 when he “stated to agents of the FBI that he ‘was under the impression’ that

                     a late July 2016 telephone call that he received was from Chamber President-I,



   66
      Indictment at 27, United States v. Sussmann, case no. 1:21-cr-00582-CRC, District of Columbia (Sept. 16, 2021)
   (hereinafter, “Sussmann Indictment”).
   67
      See generally Indictment, United States v. Danchenko, case no. 1:21-cr-00245-AJT, Eastern District of Virginia
   (Nov. 3, 2021) (hereinafter, Danchenko Indictment”)
   68
      Id. at 37.
   69
      Id.

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                      when in truth and in fact, and as the defendant well knew, Chamber President-I

                      never called Danchenko.”70

                   h. Count Four alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on October

                      24, 2017 when he "stated to agents of the FBI that he believed that he spoke to

                      Chamber President-I on the telephone on more than one occasion, when in truth

                      and in fact, and as the defendant well knew, Danchenko never spoke to Chamber

                      President-I.”71

                   i. Count Five alleges that Danchenko violated 18 U.S.C. § 1001(a)(2) on November

                      16, 2017 when he “stated to agents of the FBI that he believed that he had spoken

                      to Chamber President-I on the telephone, when in truth and in fact, and as the

                      defendant well knew, Danchenko never spoke to Chamber President-I.”72

            247.     On December 17, 2021, Durham filed a motion to inquire into potential conflicts

   of interests in Danchenko’s criminal case, notifying the court to a potential conflict of interest

   since Danchenko’s defense counsel also represents the Clinton Campaign, noting that “the interests

   of the Clinton Campaign and [Danchenko] could potentially diverge in connection with any plea

   discussions, pre-trial proceedings, hearings, trial, and sentencing proceedings.”

            248.     In the motion, Durham also confirms that his office is actively investigating the

   Clinton Campaign for its role in the subject matter of this action, stating that “[a]reas of inquiry

   that may become relevant . . . include topics such as (1) the Clinton Campaign’s knowledge or

   lack of knowledge concerning the veracity of information in the Company Reports sourced by the

   defendant, (2) the Clinton Campaign’s awareness or lack of awareness of the defendant’s



   70
      Id. at 38.
   71
      Id.
   72
      Id.

                                                     56
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   collection methods and sub-sources, (3) meetings or communications between and among the

   Clinton Campaign, U.S. Investigative Firm-1, and/or U.K. Person-1 regarding or involving the

   defendant, (4) the defendant’s knowledge or lack of knowledge regarding the Clinton Campaign’s

   role in and activities surrounding the Company Reports, and (5) the extent to which the Clinton

   Campaign and/or its representatives directed, solicited, or controlled the defendant’s activities.”

   He further noted that “the Clinton Campaign and [Danchenko] each might have an incentive to

   shift blame and/or responsibility to the other party for any allegedly false information that was

   contained within the Company Reports and/or provided to the FBI.”73

           249.     On January 25, 2022, in a discovery-related motion in the Sussmann criminal case,

   it was revealed that Durham has already questioned a “former employee of the Clinton Campaign”

   and has served document requests and/or subpoenas on the Clinton Campaign and a “political

   organization” – likely the DNC.74

           250.     On February 11, 2022, Durham filed a motion to inquire into potential conflicts of

   interest in the Sussmann case. Notably, in reference to Neustar and Joffe’s exploitation of non-

   public data in connection with the Defendants’ conspiracy, Durham states that “among the Internet

   data [Joffe] and his associates exploited was domain name system (“DNS”) Internet traffic

   pertaining to (i) a particular healthcare provider, (ii) Trump Tower, (iii) Donald Trump’s Central

   Park West apartment building, and (iv) the Executive Office of the President of the United States

   (“EOP”),” and specifically notes that “[Joffe] and his associates exploited [a sensitive]

   arrangement [with the EOP] by mining the EOP’s DNS traffic and other data for the purpose of




   73
      See generally Motion to Inquire into Potential Conflicts of Interest (ECF Doc. No.35), United States v. Danchenko,
   case no. 1:21-cr-00245-AJT, Eastern District of Virginia (Dec. 17, 2021).
   74
      See Government’s Discovery Update and Request for Additional Time to Produce Residual Discovery Materials,
   United States v. Sussmann, case no. 1:21-cr-00582-CRC, District of Columbia (Jan. 25, 2022).

                                                           57
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   gathering derogatory information about Donald Trump.”75

   The Defendants’ Malicious Conspiracy
   Remains Active to This Day

             251.   The Defendants’ collective effort to falsely implicate and publicly denigrate Donald

   J. Trump has not ceased and, in fact, the Defendants continue to proliferate the injurious falsehood

   that Donald J. Trump colluded with Russia to this very day.

             252.   Fusion GPS, Simpson, Fritsch, and Steele continued their collective mission to

   fabricate evidence and disparage Donald J. Trump with it, well after Trump won the 2016 election.

             253.   Since 2017, The Democracy Integrity Project (“TDIP”) has paid Fusion GPS,

   Steele and their associates more than $3.8 million to continue their ‘opposition research’ against

   Donald J. Trump and to continue pushing the false Trump-Russia narrative.

             254.   In particular, TDIP has paid $3.3 million to Fusion GPS; $250,000 to “Walsingham

   Partners Ltd.,” a London-based firm owned by Steele and his partner, Christopher Burrows; nearly

   $130,000 to “Edward Austin Ltd.” a London-based intelligence consultancy operated by Edward

   Baumgartner, a Fusion GPS contractor; and $148,000 to the law firm Zuckerman Spaeder, which

   has represented Fusion GPS in a variety of Dossier-related legal matters.

             255.   Philippe Reines has continued to insist that Donald J. Trump colluded with

   Russia.

             256.   On, April 16, 2018, Reines tweeted “yes collusion, yes collusion, yes collusion”

   in response to an article titled: ‘Breaking: Trump puts the brake on new Russian sanctions,

   reversing Haley’s announcement.’

             257.   Debbie Wasserman Schultz has also continued to maintain that Donald J. Trump



   75
     See generally Motion to Inquire into Potential Conflicts of Interest (ECF Doc. No.35), United States v. Sussmann,
   case no. 1:21-cr-00582-CRC, District of Columbia (Feb. 11, 2022).

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   colluded with Russia.

            258.   For instance, on May 10, 2019, Schultz appeared on MSNBC and boldly announced

   that there were “clear indications” that Donald J. Trump colluded with Russia. She went on to

   state:

                   You know, what’s so disturbing is that Donald Trump is so lacking
                   in confidence about his ability to actually get elected without the
                   help of a foreign power, and particularly a foreign adversary, that
                   they will go to any lengths and that he will instruct and allow his
                   colleagues and allies to go to any lengths to be able to secure his
                   success in an election.76

            259.   Likewise, Clinton has continued to drum up the false Trump-Russia narrative in the

   hopes of damaging Trump’s political career.

            260.   For example, on June 16, 2021, Clinton appeared on MSNBC’s Morning Joe show

   and again attempted to reinforce the debunked Trump-Russia story—of which she led the effort to

   manufacture and is no doubt aware is false—when she stated to MSNBC’s audience, which

   included the general public of the State of Florida and the rest of the United States: “We don’t

   have Trump as spokesperson for Putin, anymore.” “After disastrous Trump presidency, in which

   he gave Putin a green light to do whatever he wanted to do, once Trump was elected, of course...”

            261.   On February 16, 2022, in response to media reports concerning the filing of

   Durham’s February 11, 2022 motion, Clinton tweeted that “Trump & Fox are desperately spinning

   up a fake scandal to distract from his real ones. So it's a day that ends in Y. The more his misdeeds

   are exposed, the more they lie. For those interested in reality, here's a good debunking of their

   latest nonsense.”77

            262.   These are but a few of the recent examples of the Defendants’ ongoing efforts to


   76
      https://www.realclearpolitics.com/video/2019/05/11/wasserman_schultz_trump_clearly_colluded_with_russia_and
   _engaged_in_obstructed_justice_to_cover_it_up.html
   77
       https://twitter.com/HillaryClinton/status/1494036101572575232.

                                                        59
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   maintain their conspiracy to spread injurious falsehoods against Donald J. Trump.

           263.     As a direct and proximate cause of the Defendants’ actions, Trump has sustained

   significant injuries and damages including, but not limited to, expenses in the form of defense

   costs, legal fees and related expenses incurred in connection with his efforts to defend against the

   Defendants’ tortious actions, false accusation, and overall fraudulent scheme to discredit and

   delegitimize him, the Trump Campaign and Administration, and the Trump Organization and the

   various federal investigations and official proceedings that arose therefrom, which to date is in an

   amount no less than twenty-four million dollars ($24,000,000) and continuing to accrue, as well

   as the loss of existing and future business opportunities.78

           264.     It was a goal of the Defendants’ conspiracy, and indeed a foreseeable and natural

   consequence of the same, that this substantial economic harm would befall Trump. The Plaintiff

   does not claim nor seek any compensation for damage to his reputation, but rather, he seeks

   damages for the cost of dealing with the legal issues and political issues, which he was required to

   spend to redress the injurious falsities which were propounded by the Defendants, and all other

   losses incurred due to the tortious conduct of the Defendants.

           265.     All precedent acts and requirements have been done or have been waived by the

   Defendants.

           266.     The Plaintiff was required to retain the attorneys named below to bring this action

   and to pay them reasonable attorneys’ fees.

                                                Count I
                                                RICO
                                         (18 U.S.C. § 1962(C))
             (Against Clinton, Clinton Campaign, DNC, Perkins Coie, Elias, and Sussmann)


   78
     The different opportunities which evaporated are too many to list, but as an example, Donald J. Trump has been
   banned from different social media platforms, including Twitter. Most of this was due to the misinformation campaign
   waged by Hillary Clinton, whereby truth was deemed false and lies were deemed to be truth.

                                                           60
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          267.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          268.    The Defendants, Clinton, the Clinton Campaign, the DNC, Perkins Coie, Elias, and

   Sussmann (collectively, the “RICO Defendants”) are all “persons” within the meaning of 18

   U.S.C. § 1961(3).

                                          The RICO Enterprise
          269.    At all relevant times, the RICO Defendants, Clinton, the Clinton Campaign, the

   DNC, Perkins Coie, Elias, and Sussmann, constituted an association in-fact enterprise (the

   “Enterprise”) within the meaning of 18 U.S.C. § 1961(4).

          270.    The members of the Enterprise are a group of persons associated together for the

   common purpose of carrying on an ongoing enterprise; specifically, the Enterprise had a common,

   unlawful goal of dismantling the Plaintiff’s political career and/or impeding his ability to

   effectively govern through fraudulent, deceptive, and criminal means, including, but not limited

   to, falsely implicating the Plaintiff, the Trump Campaign, and the Trump Administration as

   colluding with Russia.

          271.    By virtue of the RICO Defendants’ professional relationships and frequent business

   collaborations, the Enterprise had an existence and legitimate business and political purpose

   separate and apart from the racketeering activity itself.

          272.    Since the Enterprise’s activities had a significant effect on the 2016 presidential

   race, and affected fundraising and electoral spending, the Enterprise affected interstate and foreign

   commerce.

          273.    The Enterprise was formed as early as April 2015 and remains ongoing and

   continuing to the present day.

          274.    Considering the nature of the RICO Defendants’ longstanding political and

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   professional relationship, the continuing nature of Clinton’s political career, her ever-present

   political rivalry with Plaintiff, and the nature of the Enterprise’s goals, the longevity of the

   Enterprise is sufficient to permit the RICO Defendants to pursue the Enterprise’s ongoing goal of

   damaging the Plaintiffs’ political career with the continuing proliferation, and/or threat of

   proliferation, of disinformation, obstruction of justice, and other unlawful tactics intended to

   damage the Plaintiff’s political career and to impede his ability to effectively govern.

          275.    The members of the Enterprise have longstanding inter-relationships rooted in their

   political and professional connections, in addition to common control, ongoing business dealings,

   and mutual interest and participation in common activities and dealings.

          276.    The Enterprise has, or at all relevant times had, an organized, clearly delineated,

   ongoing organizational framework and command structure for carrying out its objectives: the

   Clinton Campaign and the DNC were at all relevant times mutually controlled by Clinton, who

   worked in tandem with their joint counsel, Perkins Coie, whose partners, Sussmann, and Elias,

   simultaneously served as general counsel for the Clinton Campaign and the DNC.

          277.    No RICO Defendant has withdrawn, or otherwise dissociated itself, from the

   Enterprise.

                                             Predicate Acts

          278.    Section 1961(1) of RICO also provides that “racketeering activity” includes any act

   indictable under 18 U.S.C. § 1832 (relating to theft of trade secrets) and 18 U.S.C. §§ 1503 and/or

   1512 (obstruction of justice). As set forth herein, in furtherance of the scheme to defraud the

   Plaintiff, the RICO Defendants engaged in numerous acts in violation of 18 U.S.C. § 1832 and 18

   U.S.C. § 1503 and/or 1512, including, without limitation, as set forth herein.

          279.    Each RICO Defendant has conducted and participated in, directly or indirectly, the



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   management, conduct and/or operation of the Enterprise and its affairs through a pattern of

   racketeering activity including acts indictable under 18 U.S.C. § 1832 (theft of trade secrets) and

   18 U.S.C. § 1503, and/or 1512 (obstruction of justice).

          280.    The RICO Defendants have consistently and regularly committed acts of

   racketeering activity spanning from at least April 2015. These multiple acts shared a common or

   related purpose, goal, result, participants, victims, and methods of commission.

          281.    Beginning in or around April 2015, the RICO Defendants engaged in wide-ranging

   and fraudulent scheme to concoct a false narrative that the Plaintiff and his campaign were

   colluding with Russia to undermine the 2016 Presidential Election.

          282.    The RICO Defendants, through their deceptive and fraudulent conduct intended to

   mislead law enforcement, the media, and the public at large and to impede, obstruct and falsely

   provoke federal investigations against the Plaintiff, the Trump Campaign, and the Trump

   Administration.

          283.    In furtherance of this scheme, the Defendants committed multiple related acts, each

   of which constitutes an act of racketeering activity, and which, collectively, constitute a pattern of

   racketeering activity.

          Theft of Trade Secrets (18 U.S.C. § 1832)

          284.    In violation of 18 U.S.C. § 1832(a)(5), the RICO Defendants conspired with

   Neustar and Joffe, on at least two occasions, abused and exploited access to non-public and highly

   sensitive data sources and/or servers, and acquired obtained in excess of authorization and/or stole

   proprietary, sensitive and confidential internet data, records and/or information, including without

   limitation, DNS internet traffic data pertaining to Plaintiff, including data originating from his

   servers located at his private New York residence and those located at Trump Tower and used in



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   connection with his business, The Trump Organization LLC, a company involved in interstate

   commerce, and stole trade secrets in violation of 18 U.S.C. § 1832 (theft of trade secrets).

          285.    DNS internet traffic data houses highly proprietary, sensitive and confidential data.

   For example, among other things, an analysis of raw DNS data could reveal a comprehensive view

   into an individual or a company’s website traffic, e-mail traffic, webmail traffic, chat messaging,

   in addition to the types of technology, hardware, software, programs, securities and processes

   being utilized by the servers.

          286.    The RICO Defendants conspired with Neustar and Joffe to exploit access to non-

   public data sources and/or servers and unlawfully acquire, steal and exploit sensitive, proprietary

   and confidential internet data, including without limitation, DNS information, traffic, and/or data

   originating from computers and/or servers (i) located at Plaintiff’s private apartment in Central

   Park West in New York and belonging to the Plaintiff; and (ii) located at Trump Tower and

   belonging to The Trump Organization, in which Plaintiff has an ownership interest (collectively,

   with the computers and/or servers house in Plaintiff’s private apartment, “Plaintiff’s Servers).

          287.    By conspiring to illegally access the above-mentioned information and data, the

   RICO Defendants, through Neustar and Joffe, were able to obtain proprietary, sensitive, and/or

   confidential information and data including, among other things, the number and frequency of e-

   mail communications between the Plaintiff’s Servers and other third party servers, the number and

   frequency of website visits to third party websites by the Plaintiff’s Servers, the number and

   frequency of webmail interactions between the Plaintiff’s Servers and other third party servers,

   and the number and frequency of chat messaging interactions between the Plaintiff’s Servers and

   other third party servers, as well as information pertaining to the types of technology, hardware,

   software, programs, securities and processes being utilized by Plaintiff’s Servers.



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          288.    This information and data revealed highly proprietary, sensitive, and confidential

   knowledge, including insight into Plaintiff’s and The Trump Organization’s business dealings,

   financial dealings, communications, future and current plans, techniques, patterns, methods,

   processes, and procedures, as well as identification of their corporate partners, political associates,

   clients, and vendors.

          289.    This proprietary, sensitive and confidential information, data and/or knowledge

   constitutes trade secrets within the meaning of 18 U.S.C. § 1839(3) where they constitute business

   and/or political methods, techniques, processes, procedures and programs that are both protected

   from disclosure by the Plaintiff and derive significant economic value from not generally being

   known to or ascertainable by others, including the RICO Defendants, who can obtain economic

   value from disclosure or use of such information.

          290.    The Plaintiff and The Trump Organization restricts access to their proprietary,

   sensitive and confidential information and data, including DNS data, even within their own

   personnel and prevents unauthorized access to such records by digital or electronic means.

          291.    The Plaintiff and The Trump Organization further protects against theft and

   disclosure of such information by third parties by the requirement of executed non-disclosure

   agreements prior to providing any such access.

          292.    The Plaintiff’s confidential records were misappropriated by Defendants within the

   meaning of 18 U.S.C. § 1839(5), where the Plaintiff’s records were acquired by the RICO

   Defendants, through their conspiracy with Neustar and Joffe, without the Plaintiff’s authorization

   and through Defendants’ acts of espionage or other improper means conducted by electronic or

   other means.

          293.    The RICO Defendants conspired to violate the Defend Trade Secrets Act, 18 U.S.C.



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   § 1832(a)(1), by assisting, aiding, and abetting Neustar and Joffe in obtaining Plaintiff’s

   proprietary, sensitive and confidential information and data by fraud, artifice, and deception and,

   thereafter, stealing, appropriating, taking, carrying away, and concealing the theft of Plaintiff’s

   confidential records with intent to convert Plaintiff’s confidential records, which are related to

   products sold in interstate and foreign commerce, to Defendants’ own benefit, while knowing and

   intending that such misappropriation would injure the Plaintiff.

          294.    Each of the RICO Defendants were aware of, and active participants in, the

   conspiracy for Neustar and Joffe’s to violate the Defend Trade Secrets Act, 18 U.S.C. § 1832, and

   each of the RICO Defendants committed at least one act in furtherance of this goal.

          295.    The RICO Defendants’ actions constitute a conspiracy to steal trade secrets in

   violation of 18 U.S.C. § 1832(a)(5).

          Obstruction of Justice (18 U.S.C. §§ 1503, 1512)

          296.    The RICO Defendants, through and using the Enterprise, engaged in, and continues

   to engage in, a coordinated effort to destroy the Plaintiff’s political career and impede his ability

   to effectively govern as President of the United States. This coordinated effort amounts to a set of

   related predicate acts with similar purposes, results, and methods, which included acts in violation

   of 18 U.S.C. § 1503 and/or 1512 (obstruction of justice).

          297.    On one or more occasions, the RICO Defendants, knowingly and deliberately

   provided falsified, altered and misleading records, including the White Papers and the Dossier, to

   law enforcement officials and made false statements to law enforcement officials, including the

   FBI and CIA, with the intention of obstructing, impeding, influencing and/or impairing their

   investigations into alleged Russian collusion, and/or conspired with others to carry out these acts.

          298.    On September 19, 2016, Sussmann met with FBI officials in Washington D.C., at



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   which time he, among other things: (i) made false statements to FBI officers, including that he was

   acting on behalf of any client; (ii) provided falsified, altered and/or misleading records, including

   the White Papers, to FBI officials; (iii) withheld and/or concealed pertinent information, including

   without limitation the true nature of the White Papers, his work with Neustar and Joffe, the falsity

   of the purported link between Trump Tower and Alfa Bank, and the existence of the Enterprise

   and its overarching conspiracy to create a false narrative of Trump-Russia collusion.

          299.    On September 19, 2016, Sussmann met with FBI officials in Washington D.C., at

   which time he, among other things: (i) made false statements to FBI officials, including that he

   was not acting on behalf of any client; (ii) provided falsified, altered and/or misleading records,

   including (1) White Paper #1 AuditableV3, (2) White Paper Comments: Time Series Analysis of

   Recursive Queries, (3) a white paper drafted by Fusion GPS regarding a purported Trump-Alfa

   Bank connection, and (4) eight files containing falsified, altered, and/or curated data and

   information relating to Alfa Bank, Trump Tower, and the mail.trump-email.com domain, to FBI

   officials; (iii) withheld and/or concealed pertinent information, including, without limitation, that

   he was acting on behalf of his clients, Clinton, the Clinton Campaign, the DNC, and in furtherance

   of the Enterprise, the falsified and/or misleading nature of the White Papers and the other

   documents that he was handing over, the true nature of his work with Neustar and Joffe, the falsity

   of the purported link between Trump Tower and Alfa Bank, and the existence of the Enterprise

   and its overarching conspiracy to create a false narrative of Trump-Russia collusion.

          300.    Sussmann’s conduct in connection with his September 19, 2016 meeting with the

   FBI corruptly obstructed, influenced, and impeded and/or endeavored to obstruct, influence or

   impede the due administration of justice and/or one or more official proceeding(s), namely

   Crossfire Hurricane and/or other ongoing investigations by the FBI, the DOJ, the CIA, and/or the



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   IG, and therefore constituted a violation of 18 U.S.C. §§ 1503 and/or 1512.

          301.    On February 9, 2017, Sussmann met with CIA officials at a location outside of

   Washington D.C., at which time he, among other things: (i) made false statements to CIA officials,

   including that he was not representing a particular client; (ii) provided falsified, altered and/or

   misleading records, including the White Papers and multiple data files containing purported DNS

   data, ranging from 2016 through early 2017, to CIA officials; (iii) withheld and/or concealed

   pertinent information, including, without limitation, that he was acting on behalf of his clients,

   Clinton, the Clinton Campaign, the DNC, and in furtherance of the Enterprise, the falsified and/or

   misleading nature of the White Papers and the other documents that he was handing over, the true

   nature of his work with Neustar and Joffe, the falsity of the purported link between Trump Tower

   and Alfa Bank, and the existence of the Enterprise and its overarching conspiracy to create a false

   narrative of Trump-Russia collusion.

          302.    Sussmann’s actions on February 9, 2017 corruptly obstructed, influenced, and

   impeded and/or endeavored to obstruct, influence or impede the due administration of justice,

   and/or one or more official proceedings, namely, ongoing investigations by the CIA, the FBI, the

   IG, and/or the DOJ and therefore constituted a violation of 18 U.S.C. §§ 1503 and/or 1512.

          303.    The other RICO Defendants, Clinton, Clinton Campaign, DNC, Perkins Coie, and

   Elias, had a meeting of the minds, common intent, were aware of, and conspired with Sussmann

   in the commission of the above-mentioned violations of 18 U.S.C. § 1512, including, without

   limitation, his conduct in connection with his meeting with the FBI on September 19, 2016 and

   his meeting with the CIA on February 9, 2017, and each of the other RICO Defendants committed

   an overt act in furtherance of said violation(s), and the RICO Defendants conspired to commit the

   above-named acts in furtherance of the overarching conspiracy to denigrate the Plaintiff and to



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   derail his political career.

           304.     Therefore, the actions of the RICO Defendants, Clinton, Clinton Campaign, DNC,

   Perkins Coie, and Elias, constituted a conspiracy to obstruct justice in violation of 18 U.S.C.

   § 1512(k).

           305.     By virtue of the foregoing, Sussmann, and the other RICO Defendants, willfully,

   knowingly, deliberately and corruptly obstructed, influenced, and impeded and/or endeavored to

   obstruct, influence or impede the due administration of justice, and/or one or more official

   proceedings, including, but not limited to, Crossfire Hurricane and/or other investigations by the

   FBI, the CIA, the IG, and the DOJ.

           306.     In addition, the RICO Defendants conspired with Fusion GPS, Fritsch, Simpson,

   Orbis Ltd., Steele, and Danchenko to produce the Steele Dossier, which contained falsified,

   misleading and inaccurate representations about the alleged Trump-Russia connection, and which

   they knew would be provided to law enforcement, including without limitation the FBI, the DOJ

   and the CIA, for the purpose of corruptly obstructing, influenced, and impeding and/or

   endeavoring to obstruct, influence or impede one or more official proceedings, including, but not

   limited to, Crossfire Hurricane and/or other investigations by the FBI, the CIA, the IG, and the

   DOJ, in violation of 18 U.S.C. § 1512.

           307.     In addition, the RICO Defendants conspired with Danchenko in connection with

   his conduct in making various false statements and misrepresentations to the FBI in violation of

   18 U.S.C. § 1512, including, but not limited to:

                  a. On June 15, 2017, Danchenko stated, at the direction of and in coordination with

                     the RICO Defendants, that he had not spoken with Dolan about any material

                     contained in the Dossier. This statement was patently false, as Danchenko used



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                        the information provided by Dolan as a source for allegations made in the Dossier.

                     b. On March 16, 2017, May 18, 2017, October 24, 2017, and November 16, 2017,

                        Danchenko, at the direction of and in coordination with the RICO Defendants,

                        directly lied about the sources relied upon in compiling the Dossier.

              308.     The RICO Defendants had a meeting of the minds, common intent, were aware of,

   and conspired with Fusion GPS, Fritsch, Simpson, Orbis Ltd., Steele, and Danchenko in

   connection with the commission of the above-mentioned violations of 18 U.S.C. § 1512, including,

   without limitation, the scheme to produce and fraudulently disseminate the Steele Dossier and

   Danchenko’s various false statements to law enforcement, and each of the other RICO Defendants

   committed an overt act in furtherance of said violations, and the RICO Defendants conspired to

   commit the above-named acts in furtherance of the overarching conspiracy to denigrate the

   Plaintiff and to derail his political career.

              309.     Therefore, the actions of the RICO Defendants constituted a conspiracy to obstruct

   justice in violation of 18 U.S.C. § 1512(k).

              310.     Based on the foregoing, the RICO Defendants’ actions constituted at least two

   separate violations of 18 U.S.C. §§ 1503 and/or 1512.

              311.     All of Defendants’ actions in violation of 18 U.S.C. § 1832 occurred after May 11,

   2016 and, therefore, qualify as predicate acts pursuant to the 2016 amendment federal RICO

   statute.

                                                    Damages
              312.     The Plaintiff has been injured in his business and property as a direct and proximate

   result of Defendants’ violation of 18 U.S.C. § 1962(c).

              313.     As a direct and proximate result of Defendants’ actions, the Plaintiff has suffered,

   and continues to suffer, significant damages, including but not limited to, actual, compensatory,

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   special, incidental, and consequential damages in addition to costs of defense and attorneys’ fees.

          314.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ actions and the various federal

   investigations and/or official proceedings which arose therefrom, in addition to the loss of existing

   and future business opportunities for himself, the Trump Campaign, and the Trump Organization

   LLC.

          315.    All of these injuries were sustained within, and were the result of conduct occurring

   within the United States.

          316.    The Plaintiff is entitled to recover, pursuant to Title 18 United States Code

   § 1964(c), treble damages in the amount to be determined by offer of proof at time of trial. The

   Plaintiff is also entitled to recover attorneys' fees and costs of this litigation, as well as damages

   arising from lost profits and/or lost business opportunities attributable to the activities engaged in

   by defendants committed in furtherance of the Enterprise.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Hillary Clinton, HFACC, Inc., the

   Democratic National Committee, Perkins Coie, LLP, Michael Sussmann, and Marc Elias for

   damages, including Compensatory and Treble damages, costs, attorneys’ fees, and such further

   and other relief as this honorable Court may deem just and proper.




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                                            Count II
                                        RICO Conspiracy
                                      (18 U.S.C. § 1962(D))
    (Against Clinton, Clinton Campaign, DNC, Perkins Coie, Sussmann, Dolan, Sullivan, Podesta,
    Mook, Reines, Elias, Fusion GPS, Simpson, Fritsch, Nellie Ohr, Bruce Ohr, Orbis Ltd., Steele,
                                  Danchenko, Neustar, and Joffe)

          317.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          318.    Defendants, Clinton, the Clinton Campaign, DNC, Perkins Coie, Sussmann, Dolan,

   Sullivan, Podesta, Mook, Reines, Elias, Fusion GPS, Simpson, Fritsch, Nellie Ohr, Bruce Ohr,

   Orbis Ltd., Steele, Danchenko, Neustar, and Joffe (the “RICO Conspiracy Defendants”), are all

   “persons” within the meaning of 18 U.S.C. § 1961(3).

          319.    The RICO Conspiracy Defendants conspired with each other to violate 18 U.S.C.

   § 1962(C) and knowingly agreed, conspired and acted in concert for the express purpose of injuring

   the Plaintiff’s political career and/or impeding his ability to effectively govern through a pattern

   of racketeering activity.

          320.    The RICO Conspiracy Defendants knew that they were engaged in a conspiracy to

   commit the predicate acts, including theft of trade secrets (18 U.S.C. § 1832) and obstruction of

   justice (18 U.S.C. §§ 1503 and/or 1512), and they knew that the predicate acts were part of such

   racketeering activity, and the participation and agreement of each of them was necessary to allow

   the commission of this pattern racketeering activity. This conduct constitutes conspiracy to violate

   18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

          321.    Each of the RICO Conspiracy Defendants knew about and agreed to facilitate the

   Enterprise’s scheme to fraudulently concoct a scheme to damage the Plaintiff’s political career and

   undermine his ability to effectively govern as the President of the United States through the

   wrongful acts identified herein. It was part of the conspiracy that the RICO Conspiracy Defendants

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   would commit a pattern of racketeering activity in the conduct of the affairs of the enterprise,

   including the acts of racketeering as set forth herein.

          322.    No RICO Conspiracy Defendant has withdrawn, or otherwise dissociated itself,

   from the conspiracy at issue or the other conspirators.

          323.    As a direct and proximate result of RICO Conspiracy Defendants’ actions, the

   Plaintiff has been injured in his business and property has suffered, and continues to suffer,

   significant damages, including but not limited to, actual, compensatory, special, incidental, and

   consequential damages in addition to costs of defense and attorneys’ fees.

          324.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ actions and the various federal

   investigations and/or official proceedings arose therefrom.

          325.    The Plaintiff is entitled to recover, pursuant to Title 18 United States Code

   § 1964(c), treble damages in the amount to be determined by offer of proof at time of trial. The

   Plaintiff is also entitled to recover attorneys' fees and costs of this litigation, as well as damages

   arising from lost profits and/or lost business opportunities attributable to the activities engaged in

   by defendants committed in furtherance of the Enterprise.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Michael Sussmann, Perkins Coie,

   LLP, Hillary R. Clinton, HFACC, Inc., the Democratic National Committee, the DNC Services

   Corporation, Charles Halliday Dolan, Jr., Jake Sullivan, John Podesta, Perkins Coie, LLP, Marc

   Elias, Fusion GPS, Glenn Simpson, Peter Fritsch, Nellie Ohr, Bruce Ohr, Orbis Business



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   Intelligence, Ltd., Christopher Steele, Igor Danchenko, Neustar, Inc., Rodney Joffe, Robert Mook,

   Philippe Reines, James Comey, Peter Strzok, Lisa Page, Kevin Clinesmith, Andrew McCabe, John

   Does 1 through 10, said names being fictious and unknown persons, and ABC Corporations 1

   through 10, said names being fictitious and unknown entities, for damages, including

   compensatory and treble damages, costs, attorneys’ fees, and such further and other relief as this

   Court may deem just and proper.

                                                 Count III
                                            Injurious Falsehood
                                           (18 U.S.C. § 2701-12)
                  (Against Clinton, Sullivan, Schultz, Danchenko, Sussmann, and Steele)

           326.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

           327.    As detailed at length herein, on multiple occasions the Defendants, Clinton, Joffe,

   Sussmann, Steele, Sullivan, and Schultz, made, disseminated and/or published false and damaging

   statements concerning the Plaintiff, specifically that he was colluding with Russia and its President

   Vladimir Putin.

           328.    At all relevant times, the Defendants acted with actual malice, as they knew that

   the Plaintiff was not colluding with Russia or, at a minimum, acted with reckless abandon as to

   the truth of whether the Plaintiff had colluded with Russia; despite said knowledge, the Defendants

   conspired to disseminate false information and spread a false narrative in an attempt to ruin the

   Plaintiff.

           329.    These individual Defendants, Clinton, Sullivan, Schultz, Danchenko, Sussmann,

   and Steele, made, disseminated, and/or published the false and damaging statements to third

   parties, including, but not limited to, government authorities, media outlets, and the general public.

           330.    Clinton, Sullivan, and Schultz, among other things, falsely and deliberately

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   published false and damaging statements about the Plaintiff and his purported ties with Russia and

   promoted their false allegations through the media.

          331.    In turn, the media heavily reported their allegations story as true, making it appear

   as if the Plaintiff had colluded with the Russian government, despite the falsity of their claims.

          332.    Sullivan, among other things, issued a press release on October 31, 2016, on behalf

   of Clinton and the Clinton Campaign, in made false and damaging claims about the Plaintiff:

                  [T]his could be the most direct link yet between Donald Trump and
                  Moscow. Computer scientists have apparently uncovered a covert
                  server linking the Trump Organization to a Russian-based bank.
                  This secret hotline may be the key to unlocking the mystery of
                  Trump's ties to Russia. It certainly seems the Trump Organization
                  felt it had something to hide, given that it apparently took steps to
                  conceal the link when it was discovered by journalists. This line of
                  communication may help explain Trump's bizarre adoration of
                  Vladimir Putin and endorsement of so many pro-Kremlin positions
                  throughout this campaign. It raises even more troubling questions
                  in light of Russia's masterminding of hacking efforts that are clearly
                  intended to hurt Hillary Clinton’s campaign. We can only assume
                  that federal authorities will now explore this direct connection
                  between Trump and Russia as part of their existing probe into
                  Russia's meddling in our elections.

          333.    Clinton, personally, also published the same false and damaging statements to the

   public, through her Twitter account on October 31, 2016, and to media outlets.

          334.    Clinton continues to publish the false and damaging allegations to media outlets.

          335.    For example, on June 16, 2021, Hillary Clinton appeared on the Morning Joe show

   on MSNBC and stated to the general public of the State of Florida, and the rest of the United

   States: “We don’t have Trump as spokesperson for Putin, anymore.” “After disastrous Trump

   presidency, in which he gave Putin a green light to do whatever he wanted to do, once Trump was

   elected, of course.”

          336.    Schultz has also published numerous false and damaging statements about the



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   Plaintiff and his alleged collusion with Russia.

           337.    For example, she told CNN’s Erin Burnett on “OutFront”, that reported contacts

   between President Donald J. Trump's campaign aides and Russia amounted to collusion. Schultz

   told the reporter, “[W]ith every passing day, it gets more and more disturbing, and more and more

   evidence that there was collusion.” “Donald Trump should be the first person asking for one, but

   since I think he likely was part of it, it's not surprising that hasn't happened.”

           338.    Danchenko, among other things, submitted falsified evidence to the FBI and

   published false and damaging statements orally to the FBI.

           339.    Sussmann, among other things, submitted falsified evidence to the FBI, DOJ and

   CIA and published false and damaging statements orally to the FBI.

           340.    Steele, among other things knowingly maintained and published to third parties,

   including, but not limited to the FBI, the false series of reports referred to as the “Steele Dossier.”

           341.    The individual Defendants knew that the statements were false at the time they

   made then and also knew or should have known that said statements would damage the Plaintiff’s

   lawful property interests.

           342.    As a direct and proximate result of the individual Defendants’ unlawful conduct,

   the Plaintiff has suffered and will continue to suffer economic losses and irreparable injuries.

           343.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees.

           344.    Among other things, the Plaintiff was forced to incur expenses Among other things,

   the Plaintiff was forced to incur expenses in an amount to be determined at trial, but known to be



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   in excess of twenty-four million dollars ($24,000,000) and continuing to accrue, in the form of

   defense costs, legal fees, and related expenses incurred in connection with his effort to defend

   against the Defendants’ false accusations and the various federal investigations and/or official

   proceedings arose therefrom.

          345.    The Plaintiff does not claim nor seek any compensation for damage to his

   reputation, but rather, he seeks damages for the cost of dealing with the legal issues and political

   issues, which he was required to spend to redress the injurious falsities which were propounded by

   the Defendants, and all other losses incurred due to the tortious conduct of the Defendants.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Hillary Clinton, Jake Sullivan,

   Debbie Wasserman Schultz, Michael Sussmann, Christopher Steele, and Igor Danchenko, and for

   damages, including Punitive damages, costs, and such further and other relief as this Court may

   deem just and proper.

                                              Count IV
                            Conspiracy to Commit Injurious Falsehood
    (Against Clinton, Clinton Campaign, DNC, Perkins Coie, Sussmann, Dolan, Sullivan, Podesta,
    Schultz, Mook, Reines, Elias, Fusion GPS, Simpson, Fritsch, Nellie Ohr, Bruce Ohr, Orbis Ltd.,
                                Steele, Danchenko, Neustar, and Joffe)

          346.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          347.    The Defendants had a meeting of minds to harm the Plaintiff by making false and

   damaging statements regarding the Plaintiff’s alleged collusion with the Russian government, and

   its President Vladimir Putin, and then disseminating the false and damaging statements by

   publishing them to third parties, including, but not limited to, government authorities, media

   outlets, and the general public, in an attempt to cause harm to the Plaintiff.



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           348.   As such, the Defendants conspired to commit unlawful acts by unlawful means.

   They had different roles, where some actors, such as Danchenko, Dolan, Steele, and Joffe, were

   involved in the fabrication of supposed facts to put into the Dossier, and later helped to foist it

   upon the FBI, while others were more involved with the publishing of the allegations to the media

   and general public, and still others were more involved in feeding false information federal

   authorities.

           349.   Each of the Defendants executed one or more acts in furtherance of the conspiracy,

   as detailed in this Complaint, and committed overt acts to harm the Plaintiff in furtherance of the

   conspiracy.

           350.   In this regard, the Defendants conspired to create a false narrative that that the

   Plaintiff was colluding with Russia through their dissemination of false and damaging statements.

           351.   At all relevant times, the Defendants acted with actual malice, as they knew that

   the Plaintiff was not colluding with Russia or, at a minimum, acted with reckless abandon as to

   the truth of whether the Plaintiff had colluded with Russia; despite said knowledge, the Defendants

   conspired to disseminate false information and spread a false narrative in an attempt to ruin the

   Plaintiff.

           352.   Despite this knowledge, that no evidence existed of the collusion, the Defendants

   further conspired to publish the false information to third parties, such as the FBI, other

   governmental agencies, the news-media outlets, and the U.S. population, in an attempt to smear

   the Plaintiff’s to harm his chance of being elected and properly administrating his office of

   President of the United States.

           353.   As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,



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   compensatory, special, incidental, and consequential damage in addition to costs of defense and

   attorneys’ fees.

          354.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          355.    The Plaintiff does not claim nor seek any compensation for damage to his

   reputation, but rather, he seeks damages for the cost of dealing with the legal issues and political

   issues, which he was required to spend to redress the injurious falsities which were propounded by

   the Defendants, and all other losses incurred due to the tortious conduct of the Defendants.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Michael Sussmann, Perkins Coie,

   LLP, Hillary R. Clinton, HFACC, Inc., the Democratic National Committee, the DNC Services

   Corporation, Debbie Wasserman Schultz, Charles Halliday Dolan, Jr., Jake Sullivan, John Podesta,

   Perkins Coie, LLP, Marc Elias, Fusion GPS, Glenn Simpson, Peter Fritsch, Bruce Ohr, Nellie Ohr,

   Orbis Business Intelligence, Ltd., Christopher Steele, Igor Danchenko, Neustar, Inc., Rodney

   Joffe, Robert Mook, Philippe Reines, John Does 1 through 10, said names being fictious and

   unknown persons, and ABC Corporations 1 through 10, said names being fictitious and unknown

   entities, for damages, including Punitive damages, costs, and such further and other relief as this

   Court may deem just and proper.




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                                            Count V
                                     Malicious Prosecution
      (Against Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele, Joffe, Comey,
                              McCabe, Strzok, Page, and Clinesmith)

           356.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

           357.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, willfully and knowingly misled FBI and DOJ officials with the intention of inducing the

   FBI to commence an investigation of the Plaintiff and his alleged collusion with Russia.

           358.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, concocted a scheme to denigrate the Plaintiff and by so doing, to cause harm to his

   campaign, and, in the course of carrying out this scheme, conspired to feed false and/or misleading

   information to the FBI and the DOJ, which prompted the FBI to commence an investigation.

           359.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, were the legal cause of the commencement of the FBI’s investigation into the Plaintiff

   in that they, among other things, engaged in efforts to falsify information, documents, and/or

   evidence, such as the Dossier and the white papers, provided said false information, documents

   and/or evidence to the FBI and the DOJ, made false and/or misleading statements to the FBI and

   the DOJ concerning, among other things, the facts and circumstances of the development of the

   Dossier and the white papers, the credibility of their evidence and sources, the individuals and

   entities behind the Dossier and white papers, and other facts relevant to the Defendants’ plot to

   falsely implicate the Plaintiff.

           360.    As a direct and proximate results of the Defendants’ efforts, on July 31, 2016, the

   FBI launched a Foreign Agents Registration Act (“FARA”) investigation, known as Crossfire

   Hurricane, to determine whether individual(s) associated with the Plaintiff and his campaign were

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   witting of and/or coordinating activities with the Russian government.

          361.    In acting to bring forth the false information to commence the investigation by the

   FBI for the express purpose of harming the Plaintiff, the Defendants acted with malicious intent.

          362.    The Defendants, Sussmann, Elias, Danchenko, Fritsch, Simpson, Nellie Ohr, Steele

   and Joffe, acted with actual malice, as they knew that the Plaintiff was not colluding with Russia

   or, at a minimum, acted with reckless abandon as to the truth of whether the Plaintiff had colluded

   with Russia; despite said knowledge, the Defendants conspired to disseminate false information

   and spread a false narrative in an attempt to ruin the Plaintiff.

          363.    Subsequent to the commencement of Crossfire Hurricane, additional Defendants

   who were well-position within the FBI, Comey, McCabe, Strzok, Page, and Clinesmith, were the

   legal cause of the continuation of the FBI’s investigation and the commencement of extrajudicial

   FISA surveillance of the Plaintiff and his administration in that they, among other things, engaged

   in efforts to falsify evidence, information and/or documents, such as an e-mail correspondence

   regarding Carter Page that was submitted in furtherance of FISA application(s); relied upon

   knowingly false information including, without limitation, the White Papers and the Steele

   Dossier, which the Defendants were aware was not credible and was funded by the Clinton

   Campaign and the DNC; withheld pertinent and material information from FISA applications and

   in submissions, communications, and correspondences with judges, law enforcement officials,

   supervisors, superiors, and other government officials; made false and/or misleading statements to

   the FISC, Congress, and/or the Plaintiff, who at the time was sitting President of the United States;

   and otherwise misled as to the credibility of the evidence supporting their investigation, the

   individuals and entities behind the Dossier and white papers, and other facts relevant to the

   evidentiary basis for Crossfire Hurricane, the FISA applications, the Mueller investigation, and



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   other related investigations regarding the alleged Trump-Russia connection.

          364.    In acting to falsely maintain and continue the investigation(s) by the FBI and the

   DOJ for the express purpose of harming the Plaintiff, the Defendants, Comey, McCabe, Strzok,

   Page, and Clinesmith, acted with malicious intent.

          365.    The Defendants, Comey, McCabe, Strzok, Page, and Clinesmith, acted with actual

   malice, as they knew that the Plaintiff was not colluding with Russia or, at a minimum, acted with

   reckless abandon as to the truth of whether the Plaintiff had colluded with Russia, and they knew

   that Crossfire Hurricane lacked a legitimate evidentiary basis and was based on a false and

   contrived premise; despite said knowledge, the Defendants conspired to continue the baseless

   investigations, to obtain FISA warrants in excess of their lawful authority, and to proliferate the

   spread of the Defendants’ false narrative.

          366.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees.

          367.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities for himself, the Trump Campaign, and the Trump Organization

   LLC.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter



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   a Judgment for Donald J. Trump and against the Defendants, Michael Sussmann, Peter Fritsch,

   Glenn Simpson, Christopher Steele, Nellie Ohr, Igor Danchenko, Rodney Joffe, James Comey,

   Andrew McCabe, Peter Strzok, Lisa Page, and Kevin Clinesmith for compensatory damages,

   Punitive damages, costs, and such further and other relief as this Court may deem just and proper.

                                             Count VI
                           Conspiracy to Commit Malicious Prosecution
      (Against Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson, Fritsch, Steele, Ohr,
      Danchenko, Joffe, Podesta, Mook, Reines, Comey, McCabe, Strzok, Page, and Clinesmith)

          368.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          369.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, had a meeting of minds and a common plan to induce

   the FBI and/or the Department of Justice through deceptive means into commencing an unfounded

   investigation into the Plaintiff’s alleged collusion with the Russian government, Vladimir Putin,

   and other government officials.

          370.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, conspired to cause the FBI’s investigation to be

   commenced, and continue forward, by, among other things, falsifying information, documents,

   and evidence, such as the Dossier and the white papers, providing said falsified information,

   documents, and evidence to the FBI and the DOJ, and making false and/or misleading statements

   to the FBI and the DOJ concerning, among other things, the facts and circumstances of the

   development of the Dossier and the white papers, the credibility of their evidence and sources, the

   individuals and entities behind the Dossier and White Papers, and other facts relevant to the

   Defendants’ plot to falsely implicate the Plaintiff.

          371.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

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   Fritsch, Steele, Ohr, Danchenko, and Joffe, concocted a scheme to denigrate the Plaintiff and

   tarnish his harm his chance of becoming elected and then to properly and effectively administrate

   his office of President of the United States. In the course of carrying out this scheme, they

   conspired to feed false and/or misleading information to the FBI and the DOJ which prompted the

   FBI to commence an investigation.

          372.     The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, conspired to do an unlawful act by unlawful means.

          373.    The Defendants, Clinton, Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson,

   Fritsch, Steele, Ohr, Danchenko, and Joffe, acted with actual malice, as they knew that the Plaintiff

   was not colluding with Russia or, at a minimum, acted with reckless abandon as to the truth of

   whether the Plaintiff had colluded with Russia; despite said knowledge, the Defendants conspired

   to disseminate false information and spread a false narrative in an attempt to ruin the Plaintiff.

          374.    Moreover, in conspiring to bring forth the false information to commence the

   investigation by the FBI for the express purpose of harming the Plaintiff, the Defendants, Clinton,

   Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson, Fritsch, Steele, Ohr, Danchenko, and Joffe,

   acted with malicious intent.

          375.    Subsequent to the commencement of Crossfire Hurricane, additional Defendants

   who were well-positioned within the FBI, Comey, McCabe, Strzok, Page, and Clinesmith,

   conspired to continue the FBI’s investigation and to commence an extrajudicial FISA surveillance

   of the Plaintiff and his administration in that they, among other things, conspired to falsify

   evidence, information and/or documents, such as an e-mail correspondence regarding Carter Page

   that was submitted in furtherance of FISA application(s); conspired to rely upon knowingly false

   information including, without limitation, the White Papers and the Steele Dossier, which the



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   Defendants were aware was not credible and was funded by the Clinton Campaign and the DNC;

   conspired to withhold pertinent and material information from FISA applications and in

   submissions, communications, and correspondences with judges, law enforcement officials,

   supervisors, superiors, and other government officials; conspired to make false and/or misleading

   statements to the FISC, Congress, and/or the Plaintiff, who at the time was sitting President of the

   United States; and otherwise conspired to mislead as to the credibility of the evidence supporting

   their investigation, the individuals and entities behind the Dossier and white papers, and other facts

   relevant to the evidentiary basis for Crossfire Hurricane, the FISA applications, the Mueller

   investigation, and other related investigations regarding the alleged Trump-Russia connection.

          376.    In conspiring to falsely maintain and continue the investigation(s) by the FBI and

   the DOJ for the express purpose of harming the Plaintiff, the Defendants, Comey, McCabe, Strzok,

   Page, and Clinesmith, acted with malicious intent.

          377.    The Defendants, Comey, McCabe, Strzok, Page, and Clinesmith, acted with actual

   malice, as they knew that the Plaintiff was not colluding with Russia or, at a minimum, acted with

   reckless abandon as to the truth of whether the Plaintiff had colluded with Russia, and they knew

   that Crossfire Hurricane lacked a legitimate evidentiary basis and was based on a false and

   contrived premise; despite said knowledge, the Defendants conspired to continue the baseless

   investigations, to obtain FISA warrants in excess of their lawful authority, and to proliferate the

   spread of the Defendants’ false narrative.

          378.    Each of the above-named Defendants executed several acts in furtherance of the

   conspiracy, as detailed at length in this Complaint, and committed overt acts to harm the Plaintiff

   in the furtherance of the conspiracy.

          379.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has



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   suffered, and continues to suffer, significant damages, including but not limited to, actual,

   compensatory, special, incidental, and consequential damages in addition to costs of defense and

   attorneys’ fees.

          380.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage in addition to costs of defense and

   attorneys’ fees.

          381.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Hillary Clinton, Michael Sussmann,

   Debbie Wasserman Schultz, Charles Halliday Dolan, Jr., Jake Sullivan, Marc Elias, Glenn

   Simpson, Peter Fritsch, Christopher Steele, Nellie Ohr, Igor Danchenko, and Rodney Joffe, John

   Podesta, Robert Mook, Philippe Reines, James Comey, Andrew McCabe, Peter Strzok, Lisa Page,

   and Kevin Clinesmith for compensatory damages, Punitive damages, costs, and such further and

   other relief as this Court may deem just and proper.

                                             Count VII
                                  Computer Fraud and Abuse Act
                                        (18 U.S.C. § 1030)
         (Against Neustar, Joffe, DNC, Clinton Campaign, Clinton, Perkins Coie, Sussmann)

          382.    The Plaintiff avers the allegations contained in the preceding paragraphs and

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   incorporates them in this count, as if set forth at length herein.

          383.    The computers belonging to the Executive Office of the President of the United

   States are non-public, belonging to a department or agency of the United States, are exclusively

   for the use of the United States Government and are involved in interstate and foreign commerce

   and communications.

          384.    The computers belonging to the Trump Organization LLC, located at Trump

   Tower, are involved in interstate and foreign commerce and communication and, therefore, are

   protected computers under 18 U.S.C. § 1030(e)(2).

          385.    The Defendants’ conduct as alleged herein violated 18 U.S.C. §§ 1030(a)(2),

   1030(a)(3), 1030(a)(4), and/or 1030(a)(6).

          386.    The Defendants, Neustar and Joffe, knowingly, intentionally and unlawfully

   accessed and/or exceeded their authority to access the computers at the Executive Office of the

   President of the United States and thereby obtained and used valuable, sensitive and/or proprietary

   information and data from those computers in violation of 18 U.S.C. § 1030(a)(2)(B),

   1030(a)(2)(C), and 1030(a)(3).

          387.    Such information and data include, but are not limited to, non-public, sensitive,

   confidential, classified and/or proprietary internet data, DNS records, techniques, processes,

   procedures and programs.

          388.    Neustar and Joffe also knowingly, intentionally, and unlawfully accessed and/or

   exceeded their authority to access computers belonging to the Trump Organization LLC, located

   at the Trump Tower, and thereby obtained and used valuable, sensitive and/or proprietary

   information and data from those computers in violation of 18 U.S.C. § 1030(a)(2)(C).

          389.    Such information and data include, but are not limited to, non-public, sensitive,



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   confidential and/or proprietary internet data, DNS records, business methods, techniques,

   processes, procedures and programs.

          390.    As detailed at length herein, the Defendants, the DNC, the Clinton Campaign,

   Clinton, Perkins Coie, and Sussmann conspired with Neustar and Joffe in their commission of the

   above-stated acts, in violation of 18 § U.S.C. 1030(b).

          391.    As a direct and proximate result of the DNC, the Clinton Campaign, Clinton,

   Perkins Coie, Sussmann, Neustar, and Joffe’s violations of 18 U.S.C. § 1030, the Plaintiff has been

   injured and has sustained a loss in excess of $5,000.

          392.    Among other things, the Defendants obtained valuable, sensitive, proprietary and

   confidential data and information pertaining to the Plaintiff, which they manipulated, falsified and

   altered for nefarious purposes, and, in addition, the Plaintiff was forced to incur expenses in an

   amount to be determined at trial, but known to be in excess of twenty-four million dollars

   ($24,000,000) and continuing to accrue, in the form of defense costs, legal fees, and related

   expenses incurred in connection with his effort to defend against the Defendants’ actions and the

   various federal investigations and/or official proceedings arose therefrom

          393.    The acts of the above-mentioned Defendants which violated 18 U.S.C. § 1030 were

   not discoverable until September 16, 2021, upon the disclosure of said acts described in the

   indictment of Michael Sussmann in United States v. Sussmann, case no. 1:21-cr-00582-CRC,

   United States District Court, District for Columbia.

          394.    As a direct and proximate result of the Defendant’s actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage, including, among other things, the

   cost of investigating and responding to the unauthorized access, defending himself against federal



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   investigations, harm to his business, and loss of trade secrets and/or other proprietary, sensitive or

   valuable information and data, entitling the Plaintiff to compensatory relief under 18 U.S.C.

   § 1030(g).

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Neustar, Inc., Rodney Joffe, Perkins

   Coie, LLP, Michael Sussmann, HFACC, Inc., the Democratic National Committee, the DNC

   Services Corporation, and Hillary Clinton for compensatory damages, Punitive damages, costs,

   attorneys’ fees, and such further and other relief as this honorable Court may deem just and proper.

                                              Count VIII
                                        Theft of Trade Secrets
                                        (18 U.S.C. § 1830-32)
       (Against Neustar, Joffe, Perkins Coie, Sussmann, Clinton Campaign, DNC, and Clinton)

          395.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          396.    The Plaintiff owns and possesses certain non-public, proprietary, sensitive and

   confidential information and data, including without limitation, DNS data.

          397.    DNS internet traffic data houses highly proprietary, sensitive and confidential data.

   For example, among other things, an analysis of raw DNS data could reveal a comprehensive view

   into an individual or a company’s website traffic, e-mail traffic, webmail traffic, chat messaging,

   in addition to the types of technology, hardware, software, programs, securities and processes

   being utilized by the servers.

          398.    Neustar and Joffe, at the direction of Perkins Coie, Sussmann, Clinton Campaign,

   DNC, and Clinton, exploited access to non-public data sources and/or servers, and unlawfully

   acquired, stole and exploited sensitive, proprietary and confidential internet data, including

   without limitation, DNS information, traffic, and/or data originating from computers and/or

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   servers: (i)located at Plaintiff’s private apartment in Central Park West in New York and belonging

   to the Plaintiff; and (ii) located at Trump Tower and belonging to The Trump Organization, in

   which Plaintiff has an ownership interest (collectively, with the computers and/or servers house in

   Plaintiff’s private apartment, “Plaintiff’s Servers”).

           399.    Joffe and Neustar exploited their access to non-public data to, among other things,

   mine DNS traffic and other data from Plaintiff’s Servers for the purpose of gathering derogatory

   information about the Plaintiff.

           400.    In doing so, Joffe and Neustar intentionally accessed, without authorization,

   Plaintiff’s Servers.

           401.    By illegally accessing the above-mentioned information and data, the Neustar and

   Joffe, were able to obtain proprietary, sensitive, and/or confidential information and data

   including, among other things, the number and frequency of e-mail communications between the

   Plaintiff’s Servers and other third party servers, the number and frequency of website visits to third

   party websites by the Plaintiff’s Servers, the number and frequency of webmail interactions

   between the Plaintiff’s Servers and other third party servers, and the number and frequency of chat

   messaging interactions between the Plaintiff’s Servers and other third party servers, as well as

   information pertaining to the types of software, programs, securities and processes being utilized

   by Plaintiff’s Servers.

           402.    This information and data revealed highly proprietary, sensitive, and confidential

   knowledge, including insight into Plaintiff’s and The Trump Organization’s business dealings,

   financial dealings, communications, future and current plans, techniques, patterns, methods,

   processes, and procedures, as well as identification of their corporate partners, political associates,

   clients, and vendors.



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          403.    This proprietary, sensitive and confidential information, data and/or knowledge

   constitutes trade secrets within the meaning of 18 U.S.C. § 1839(3) where they constitute business

   and/or political methods, techniques, processes, procedures and programs that are both protected

   from disclosure by the Plaintiff and derive significant economic value from not generally being

   known to or ascertainable by others, including the Defendants, who can obtain economic value

   from disclosure or use of such information.

          404.    The Plaintiff and The Trump Organization restricts access to their proprietary,

   sensitive and confidential information and data, including DNS data, even within their own

   personnel and prevents unauthorized access to such records by digital or electronic means.

          405.    The Plaintiff and The Trump Organization further protects against theft and

   disclosure of such information by third parties by the requirement of executed non-disclosure

   agreements prior to providing any such access.

          406.    Defendants, Neustar and Joffe, violated the Defend Trade Secrets Act, 18 U.S.C.

   § 1832(a)(1), by knowingly obtaining the Plaintiff’s confidential records by fraud, artifice, and

   deception and, thereafter, stealing, appropriating, taking, carrying away, and concealing the theft

   of the Plaintiff’s confidential records with intent to convert the Plaintiff’s confidential records,

   which are related to products sold in interstate and foreign commerce, to the Defendants’ own

   benefit, while knowing and intending that such misappropriation would injure the Plaintiff.

          407.    Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and Clinton,

   conspired with Neustar and Joffe to commit the above-named acts in furtherance of the overarching

   conspiracy to denigrate and spread injurious falsehoods to harm the Plaintiff’s political career and

   to impede his ability to effectively govern.

          408.    Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and Clinton,



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   conspired with Neustar and Joffe to violate the Defend Trade Secrets Act, 18 U.S.C. § 1832(a)(1),

   by assisting, aiding, and abetting Neustar and Joffe in obtaining Plaintiff’s proprietary, sensitive

   and confidential information and data by fraud, artifice, and deception and, thereafter, stealing,

   appropriating, taking, carrying away, and concealing the theft of Plaintiff’s confidential records

   with intent to convert Plaintiff’s confidential records, which are related to products sold in

   interstate and foreign commerce, to Defendants’ own benefit, while knowing and intending that

   such misappropriation would injure the Plaintiff

          409.    Each of the Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and

   Clinton, were aware of, and active participants in, the conspiracy for Neustar and Joffe’s to violate

   the Defend Trade Secrets Act, 18 U.S.C. § 1832, and each of the RICO Defendants committed at

   least one act in furtherance of this goal.

          410.    The Plaintiff’s confidential records were misappropriated by Defendants within the

   meaning of 18 U.S.C. § 1839(5), where the Plaintiff’s records were acquired by the Defendants,

   through unlawful and deceptive acts, without the Plaintiff’s authorization and through Defendants’

   acts of espionage or other improper means conducted by electronic or other means.

          411.    The theft of the protected trade secrets has damaged the Plaintiff.

          412.    The actions of Defendants, Neustar and Joffe, constitute theft of trade secrets in

   violation of 18 U.S.C. § 1832(a)(1).

          413.    The actions of Defendants, Perkins Coie, Sussmann, Clinton Campaign, DNC, and

   Clinton, constitute a conspiracy to steal trade secrets in violation of 18 U.S.C. § 1832(a)(5).

          414.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage in addition to costs of defense and



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   attorneys’ fees.

          415.    Among other things, the Plaintiff was forced to incur, the Plaintiff was forced to

   incur expenses in an amount to be determined at trial, but known to be in excess of twenty-four

   million dollars ($24,000,000) and continuing to accrue, in the form of defense costs, legal fees,

   and related expenses incurred in connection with his effort to defend against the Defendants’

   actions and the various federal investigations and/or official proceedings arose therefrom, in

   addition to the loss of existing and future business opportunities.

   WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter a

   Judgment for Donald J. Trump and against the Defendants, Neustar, Inc., Rodney Joffe, Perkins

   Coie, LLP, Michael Sussmann, HFACC, Inc., the Democratic National Committee, the DNC

   Services Corporation, and Hillary Clinton, for compensatory damages, Punitive damages, costs,

   attorneys’ fees, and such further and other relief as this Court may deem just and proper.

                                                Count IX
                                      Stored Communications Act
                                          (18 U.S.C. 2701-12)
                                       (Against Neustar and Joffe)

          416.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          417.    The Defendants, Neustar and Joffee, on one or more occasions willfully and

   intentionally accessed, without authorization or in excess of any authorization, facilities through

   which an electronic communication is provided.

          418.    Neustar and Joffee obtained unauthorized access to or, at a minimum, exceeded

   their authorization to access, numerous facilities through which an electronic communication is

   provided, including, but not limited to: (i) the computers, networks and/or servers of the Plaintiff’s

   private New York residence; (ii) the computers, networks and/or servers of the Executive Office

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   of the President of the United States; and (iii) the computers, networks and/or servers of the Trump

   Organization LLC, specifically located at Trump Tower (collectively, the “Computers”).

          419.    Neustar and Joffee obtained wire or electronic communications from the

   Computers that were in electronic storage in such systems.

          420.     The Plaintiff was aggrieved as a direct and proximate result of Neustar and Joffe’s

   actions, and was caused to suffer significant damage, entitling him to an award for monetary relief

   under 18 U.S.C. § 2707(c).

          421.    The violations of Neustar and Joffe were willful and intentional, thereby warranting

   an award of punitive damages under 18 U.S.C. § 2707(c).

          422.    Moreover, in conspiring to bring forth the false information to commence the

   investigation by the FBI for the express purpose of harming the Plaintiff, the Defendants, Clinton,

   Sussmann, Schultz, Dolan, Sullivan, Elias, Simpson, Fritsch, Steele, Ohr, Danchenko, and Joffe,

   acted with malicious intent.

          423.    The Plaintiff also seeks an award for attorneys’ fees and costs as permitted pursuant

   to 18 U.S.C. § 2707(c)

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendants, Neustar, Inc. and Rodney Joffe, for

   compensatory damages, punitive damages, costs, attorneys’ fees, and such further and other relief

   as this Court may deem just and proper.

                                                Count X
                                                 Agency
                                             (Against Clinton)

          424.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.



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          425.      Clinton, acting as a principal, used the law firm, Perkins Coie, and the Clinton

   Campaign as her agents to act on her behalf to carry out the plot against Trump to assure that he

   would be falsely implicated as colluding with a hostile foreign sovereignty.

          426.      Specifically, the Clinton Campaign and the DNC under Clinton’s direction put into

   place a scheme to hire dishonest operatives to put together a collection of lies and innuendo about

   the Plaintiff and shop it to the FBI. The statements that were disseminated were knowingly false

   and damaging.

          427.      Clinton directed the DNC and the Clinton Campaign to also retain Perkins Coie,

   LLP to find proof of a sinister link between Trump and Russia in the lead-up to the 2016 Presidential

   Election.

          428.      The Clinton Campaign and the DNC, under the direction of Hillary Clinton, directed

   its law firm, Perkins Coie, to hire an outside intelligence firm, Fusion GPS to dig up dirt on the

   Plaintiff’s alleged connections with Russia in 2016. They paid Fusion GPS approximately $10

   million to produce and propagate a false narrative that the Plaintiff had colluded with the Russians.

          429.      Clinton attempted to shield her involvement through a barricade of agents working

   on her behalf.

          430.      Once retained Perkins Coie, was tasked with spearheading the mission to find or

   fabricate proof of a sinister link between Trump and Russia in the lead-up to the 2016 Presidential

   Election.

          431.      The Clinton Campaign also secured Joffe and his company Neustar, Inc. to help

   Clinton achieve her goal.

          432.      During the lead-up to the 2016 Presidential Election, the Clinton Campaign retained

   Perkins Coie to perform “opposition research” on the Trump Campaign.



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          433.    Perkins Coie did not provide legal services to the Defendants, but instead, was

   commissioned to dig up whatever dirt they could on the Plaintiff, and to the extent there was none,

   to manufacture it.

          434.    Perkins Coie, acting with the knowledge and direction of the Clinton Campaign,

   then proceeded to proliferate a false narrative that the Trump Campaign was actively colluding with

   Russian operatives to subvert the 2016 Presidential Election.

          435.    Sussmann and Elias, while working for Perkins Coie, and working on behalf of the

   Clinton Campaign, worked with Joffe and attempted to find any such wrongdoing by the Plaintiff.

          436.    Sussmann advised the media and others, falsely and knowingly claiming to

   demonstrate the existence of a secret communications channel between the Trump Organization

   and Alfa Bank. In this regard, Sussmann invoiced the Clinton Campaign for his communications

   with Joffe and Elias.

          437.    Sussmann was also advising the Clinton Campaign in connection with cybersecurity

   issues, and Perkins Coie, acted as the Clinton Campaign’s General Counsel.

          438.    Joffe used his access at multiple organizations to gather and mine public and non-

   public Internet data regarding Trump and his associates, with the goal of creating a “narrative”

   regarding the candidate's ties to Russia.”

          439.    Joffe later shared certain results of those data searches and analysis with Sussmann

   so that Sussmann, in turn, could provide them to the media and the FBI.

          440.    Clinton was fully aware of the plan and hired and instructed the necessary parties to

   make it happen.

          441.    Moreover, employees of Perkins Coie, Elias and Sussmann had multiple conferences

   regarding their work and billed the Clinton Campaign for these meetings.



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           442.    All of the abovementioned acts were committed by Perkins Coie under the

   instruction and for the benefit of Hillary Clinton and the Clinton Campaign.

           443.    The agents, the Clinton Campaign and Perkins, Coie, LLP, were not acting outside

   of the instructions of the principal when committing the above-mentioned acts because they were

   hired for the sole purpose of digging up or manufacturing information on the Plaintiff.

           444.    Sussmann, and his firm, Perkins Coie were always acting on behalf of and in

   coordination with the Clinton Campaign, in assembling and conveying Sussmann’s allegations.

           445.    Additionally, all of Sussmann’s recorded time and work relating to the Russian Bank

   were billed to the Clinton Campaign.

           446.    Clinton is liable as a principal for all of the acts her agents committed against the

   Plaintiff at her request and for her benefit.

           447.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage in addition to costs of defense and

   attorneys’ fees.

           448.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

   continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

   connection with his effort to defend against the Defendants’ false accusations and the various

   federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

   and future business opportunities.

           449.    The Plaintiff does not claim nor seek any compensation for damage to his

   reputation, but rather, he seeks damages for the cost of dealing with the legal issues and political



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   issues, which he was required to spend to redress the injurious falsities which were propounded by

   the Defendants, and all other losses incurred due to the tortious conduct of the Defendants.

          WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

   a Judgment for Donald J. Trump and against the Defendant, Hillary Clinton, for damages,

   including Punitive damages, costs, and such further and other relief as this Court may deem just

   and proper.

                                              Count XI
                                Respondeat Superior/Vicarious Liability
                                        (Against Perkins Coie)

          450.    The Plaintiff avers the allegations contained in the preceding paragraphs and

   incorporates them in this count, as if set forth at length herein.

          451.    Under the doctrine of respondeat superior, the Defendant, Perkins Coie, is

   vicariously responsible for the torturous conduct of its agents, servants, representatives, employees

   and/or contractors.

          452.    Specifically, under the doctrine of respondeat superior, Perkins Coie is responsible

   for the tortious actions that its employees, Sussmann and Elias, committed.

          453.    Elias and Sussmann were two of Perkins Coie’s senior partners responsible for

   representing the DNC. The senior partners negotiated the Joint Fund-Raising Agreement between

   the DNC and the Clinton Campaign in which Hillary Clinton would be permitted to control the

   party’s finances, strategy, and utilize the money that the DNC raised.

          454.     Sussmann and Joffe engaged in efforts with Elias and individuals acting on behalf

   of the Clinton Campaign to manufacture evidence of wrongdoing by the Plaintiff and the existence

   of a secret communications channel between the Trump Organization and Alfa Bank.

          455.    Sussmann reported the Alfa Bank connection as though it was real and lied to the



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   FBI General Counsel in that he falsely stated that he was not acting on behalf of any client, when

   he was specifically there at the behest of Clinton, the Clinton Campaign, and the DNC. In fact, he

   invoiced the Clinton Campaign for his efforts.

           456.    From in or about late July through in or about mid-August 2016, Sussmann, Joffe,

   and Elias coordinated and communicated about the Plaintiff’s involvement with Alfa Bank.

   Sussmann and Perkins Coie invoiced the Clinton Campaign for that conspiratorial meeting.

           457.    Elias and Sussmann perpetrated lies about the Plaintiff and falsified evidence. Elias

   and Sussmann committing these egregious acts while working for a client of their firm. The DNC

   and the Clinton Campaign hired Perkins Coie and Sussmann and Elias to complete the work as a

   part of their job.

           458.    At all material times, the above-named employees were all acting within the scope

   of their employment, performing work for their employer at the time of the tortious conduct, and

   therefore are responsible for the actions of their employees.

           459.    As a direct and proximate result of the torturous actions by agents, servants,

   representatives, employees and/or contractors, as alleged above, Perkins Coie is vicariously liable

   to the Plaintiff, as he suffered losses due to the actions of the employees who were working within

   the scope of their employment.

           460.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

   suffered, and continues to suffer, significant damage, including but not limited to, actual,

   compensatory, special, incidental, and consequential damage in addition to costs of defense and

   attorneys’ fees.

           461.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

   determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and



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    continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

    connection with his effort to defend against the Defendants’ false accusations and the various

    federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

    and future business opportunities for himself, the Trump Campaign, and the Trump Organization

    LLC.

           WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

    a Judgment for Donald J. Trump and against the Defendant, Perkins Coie, LLP, for damages,

    including Punitive damages, costs, and such further and other relief as this Court may deem just

    and proper.

                                              Count XII
                                 Respondeat Superior/Vicarious Liability
                                           (Against the DNC)

           462.    The Plaintiff avers the allegations contained in the preceding paragraphs and

    incorporates them in this count, as if set forth at length herein.

           463.    Under the doctrine of respondeat superior, the Defendant, the DNC, is vicariously

    responsible for the torturous conduct of its agents, servants, representatives, employees and/or

    contractors.

           464.    Specifically, under the doctrine of respondeat superior, the DNC is responsible for

    the tortious actions committed by its chairperson, Schultz, and other members and employees.

           465.    At all material times, the above-named employees were all acting within the scope

    of their employment, performing work for their employer at the time of the tortious conduct, and

    therefore are responsible for the actions of their employees.

           466.    As a direct and proximate result of the torturous actions by agents, servants,

    representatives, employees and/or contractors, as alleged above, the DNC is vicariously liable to



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    the Plaintiff, as he suffered losses due to the actions of the employees who were working within the

    scope of their employment.

           467.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

    determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

    continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

    connection with his effort to defend against the Defendants’ false accusations and the various

    federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

    and future business opportunities.

           WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

    a Judgment for Donald J. Trump and against the Defendant, the Democratic National Committee,

    the DNC Services Corporation, for Compensatory damages, Punitive damages, costs, and such

    further and other relief as this Court may deem just and proper.

                                                Count XIII
                                  Respondeat Superior/Vicarious Liability
                                      (Against the Clinton Campaign)

           468.    The Plaintiff avers the allegations contained in the preceding paragraphs and

    incorporates them in this count, as if set forth at length herein.

           469.    Under the doctrine of respondeat superior, the Defendant, the Clinton Campaign,

    vicariously responsible for the torturous conduct of its agents, servants, representatives, employees

    and/or contractors.

           470.    Specifically, under the doctrine of respondeat superior, the Clinton Campaign is

    responsible for the tortious actions committed by its campaign manager, communications director,

    and foreign policy advisor.

           471.    On or about September 15, 2016, Elias exchanged emails with the Clinton



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    Campaign's campaign manager, communications director, and foreign policy advisor concerning

    the plot to falsely connect Donald J. Trump to a Russian bank.

           472.    At all material times, the above-named employees were all acting within the scope

    of their employment, performing work for their employer at the time of the tortious conduct, and

    therefore are responsible for the actions of their employees.

           473.    As a direct and proximate result of the torturous actions by agents, servants,

    representatives, employees and/or contractors, as alleged above, the Clinton Campaign is

    vicariously liable to the Plaintiff, as he suffered losses due to the actions of the employees who

    were working within the scope of their employment.

           474.    Among other things, the Plaintiff was forced to incur expenses in an amount to be

    determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

    continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

    connection with his effort to defend against the Defendants’ false accusations and the various

    federal investigations and/or official proceedings arose therefrom, in addition to the loss of existing

    and future business opportunities.

           WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

    a Judgment for Donald J. Trump and against the Defendant, HFACC Inc., for damages, including

    Punitive damages, costs, and such further and other relief as this Court may deem just and proper.

                                              Count XIV
                                 Respondeat Superior/Vicarious Liability
                                         (Against Fusion GPS)

            475. The Plaintiff avers the allegations contained in the preceding paragraphs and

     incorporates them in this count, as if set forth at length herein.

            476. Under the doctrine of respondeat superior, the Defendant, Fusion GPS is vicariously



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    responsible for the torturous conduct of its agents, servants, representatives, employees and/or

    contractors.

              477. Specifically, under the doctrine of respondeat superior, Fusion GPS is responsible

    for the tortious actions committed by its employees, Fritsch and Simpson.

              478. Elias, in his mission to obtain derogatory anti-Trump ‘opposition research,’

    commissioned Fusion GPS, and its co-founders, Fritsch and Simpson, and directed them to dredge

    up evidence—legitimate or otherwise, true or otherwise, of collusion between the Plaintiff and

    Russia.

              479.   Fritsch and Simpson, in turn, enlisted the assistance of Orbis Ltd and its owner,

    Steele, to produce a series of reports setting forth damning evidence of the supposed collusion

    between the Plaintiff and Russia.

              480. Moreover, the efforts of Ohr to pass the knowingly false Dossier through her

    husband to the Department of Justice, while she was in the full-time employment of Fusion GPS

    also leads to the liability of Fusion GPS.

              481. The now-debunked collection of reports, known as the “Steele Dossier” or simply

    the “Dossier,” was riddled with misstatements, misrepresentations and flat out lies. As it turns

    out, the Dossier was largely based upon information provided to Steele by his primary sub-source,

    Danchenko, who admittedly fabricated his claims.

              482. Danchenko had close ties to senior Clinton Campaign official Dolan, who

    knowingly provided false information to Danchenko, who relayed it to Steele, who reported it in

    his Dossier and fed it to the FBI and the media.

              483. Fritsch and Simpson were hired and working for their company Fusion GPS when

    they fabricated research and evidence.



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            484. At all material times, the above-named employees were all acting within the scope

     of their employment, performing work for their employer at the time of the tortious conduct, and

     therefore are responsible for the actions of their employees.

            485. As a direct and proximate result of the torturous actions by agents, servants,

     representatives, employees and/or contractors, as alleged above, Fusion GPS is vicariously liable

     to the Plaintiff, as he suffered losses due to the actions of the employees who were working within

     the scope of their employment.

            486. Among other things, the Plaintiff was forced to incur expenses in an amount to be

     determined at trial, but known to be in excess of twenty-four million dollars ($24,000,000) and

     continuing to accrue, in the form of defense costs, legal fees, and related expenses incurred in

     connection with his effort to defend against the Defendants’ false accusations and the various

     federal investigations and/or official proceedings arose therefrom, in addition to the loss of

     existing and future business opportunities.

            WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

     a Judgment for Donald J. Trump and against the Defendant, Fusion GPS, for damages, including

     Punitive damages, costs, and such further and other relief as this Court may deem just and proper.

                                                 Count XV
                                 Respondeat Superior/Vicarious Liability
                                  (Against Orbis Business Intelligence Ltd)

           487.    The Plaintiff avers the allegations contained in the preceding paragraphs and

    incorporates them in this count, as if set forth at length herein.

           488.    Under the doctrine of respondeat superior, the Defendant, Orbis, vicariously

    responsible for the torturous conduct of its agents, servants, representatives, employees and/or

    contractors.



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           489.    Specifically, under the doctrine of respondeat superior, Orbis is responsible for the

    tortious actions committed by its employee, Steele.

           490.    Fritsch and Simpson enlisted the assistance of Orbis Ltd and its owner, Steele, to

    produce a series of reports setting forth damning evidence of the supposed collusion between the

    Plaintiff and Russia.

           491.    The now-debunked collection of reports, known as the “Steele Dossier” or simply

    the “Dossier,” was riddled with misstatements, misrepresentations and flat out lies. As it turns out,

    the Dossier was largely based upon information provided to Steele by his primary sub-source,

    Danchenko, who admittedly fabricated his claims.

           492.    Danchenko had close ties to senior Clinton Campaign official, Dolan, who

    knowingly provided false information to Danchenko, who relayed it to Steele, who reported it in

    his Dossier and fed it all the way back up the chain.

           493.    Fusion GPS was hired to create the fabricated Dossier and Steele was working for

    the company when he created it.

           494.    At all material times, the above-named employees were all acting within the scope

    of their employment, performing work for their employer at the time of the tortious conduct, and

    therefore are responsible for the actions of their employees.

           495.    As a direct and proximate result of the tortious actions by agents, servants,

    representatives, employees and/or contractors, as alleged above, Orbis is vicariously liable to the

    Plaintiff, as he suffered losses due to the actions of the employees who were working within the

    scope of their employment.

           496.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

    suffered, and continues to suffer, significant damage, including but not limited to, actual,



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    compensatory, special, incidental, and consequential damage in addition to costs of defense and

    attorneys’ fees.

           WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

    a Judgment for Donald J. Trump and against the Defendant, Orbis Business Intelligence Ltd., for

    damages, including Punitive damages, costs, and such further and other relief as this Court may

    deem just and proper.

                                               Count XVI
                                  Respondeat Superior/Vicarious Liability
                                            (Against Neustar)

           497.    The Plaintiff avers the allegations contained in the preceding paragraphs and

    incorporates them in this count, as if set forth at length herein.

           498.    Under the doctrine of respondeat superior, the Defendant, Neustar vicariously

    responsible for the torturous conduct of its agents, servants, representatives, employees and/or

    contractors.

           499.    Specifically, under the doctrine of respondeat superior, Neustar is responsible for

    the tortious actions committed by its employee, Joffe.

           500.    The Clinton Campaign secured Neustar, Inc. which is run by Joffe, to help Hillary

    Clinton achieve her goal.

           501.        Sussmann and Elias, while working for Perkins Coie, LLP, and working on behalf

    of the Clinton Campaign, worked with Joffe and attempted to find wrongdoing by the Plaintiff or

    the Trump Organization.

           502.    Sussmann advised the media and others, falsely and knowingly claiming to

    demonstrate the existence of a secret communications channel between the Trump Organization

    and Alfa Bank. In this regard, Sussmann invoiced the Clinton Campaign for his Communications



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    with Joffe and Elias.

           503.    Sussmann was also advising the Clinton Campaign in connection with cybersecurity

    issues, and Perkins Coie, acted as the Clinton Campaign’s General Counsel.

           504.    Joffe used his access at multiple organizations to gather and mine public and non-

    public Internet data regarding Trump and his associates, with the goal of creating a “narrative”

    regarding the candidate's ties to Russia.”

           505.    Joffe later shared certain results of those data searches and analysis with Sussmann

    so that Sussmann, in turn, could provide them to the media and the FBI.

           506.    Joffe was working and acting on behalf of Neustar when he attempted to find

    wrongdoing and fabricated facts and evidence.

           507.    At all material times, the above-named employees were all acting within the scope

    of their employment, performing work for their employer at the time of the tortious conduct, and

    therefore are responsible for the actions of their employees.

           508.    As a direct and proximate result of the Defendants’ actions, the Plaintiff has

    suffered, and continues to suffer, significant damage, including but not limited to, actual,

    compensatory, special, incidental, and consequential damage in addition to costs of defense and

    attorneys’ fees.

           WHEREFORE, the Plaintiff, Donald J. Trump, respectfully requests that this Court enter

    a Judgment for Donald J. Trump and against the Defendant, Neustar, Inc., for damages, including

    Punitive damages, costs, and such further and other relief as this Court may deem just and proper.

                                                 Jury Demand

           The Plaintiff hereby demands a trial by jury of all issues so triable.




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    Dated: March 24, 2022
    Respectfully submitted by:

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